      Case 1:23-cv-10511-WGY Document 461 Filed 01/16/24 Page 1 of 113



                     UNITED STATES DISTRICT COURT
                       DISTRICT OF MASSACHUSETTS

___________________________________
                                   )
UNITED STATES OF AMERICA,          )
COMMONWEALTH OF MASSACHUSETTS,     )
DISTRICT OF COLUMBIA,              )
STATE OF CALIFORNIA,               )
STATE OF MARYLAND,                 )
STATE OF NEW JERSEY,               )
STATE OF NEW YORK, and             )
STATE OF NORTH CAROLINA,           )
                                   )
          Plaintiffs,              )
                                   )
                    v.             )          CIVIL ACTION
                                   )          NO. 23-10511-WGY
JETBLUE AIRWAYS CORPORATION, and   )
SPIRIT AIRLINES, INC.,             )
                                   )
          Defendants.              )
___________________________________)

YOUNG, D.J.                                         January 16, 2024

               FINDINGS OF FACT AND CONCLUSIONS OF LAW


I.    INTRODUCTION .............................................. 2
II. FINDINGS OF FACT .......................................... 6
 A.    The Industry ............................................ 6
 B.    The Defendants ......................................... 15
     1. JetBlue ................................................ 15
     2. Spirit ................................................. 20
 C.    The Relevant Airports .................................. 26
     1. Orlando, Florida – Orlando(MCO) and Sanford(SFB) ....... 26
     2. San Juan, Puerto Rico - San Juan(SJU) .................. 27
     3. Miami/Fort Lauderdale – Miami(MIA) and Fort
     Lauderdale(FLL) ........................................... 28
     4. New York City - LaGuardia(LGA) and Newark(EWR) ......... 30
     5. Boston, Massachusetts - Boston(BOS) .................... 30
 D.    The Merger Agreement ................................... 30

                                    [i]
      Case 1:23-cv-10511-WGY Document 461 Filed 01/16/24 Page 2 of 113



 E.    The Divestitures Offered ............................... 36
   1. Divestitures to Allegiant .............................. 38
   2. Divestitures to Frontier ............................... 40
 F.    The Potential Effects of the Proposed Merger ........... 41
   1. Decreased Airline Seats ................................ 41
   2. Increased Concentration ................................ 43
      a.   “Spirit-Only” Routes ................................ 44
      b.   “Spirit-Entry” Routes ............................... 44
      c.   “Econometric” Routes ................................ 45
      d.   Connect Routes ...................................... 45
      e.   Mixed Routes ........................................ 46
      f.   Nonstop Overlap Routes .............................. 47
   3. Increased Debt for JetBlue ............................. 49
   4. Increased Prices for Customers ......................... 50
      a.   Loss of Spirit’s Prices as an Option for Consumers .. 50
      b.   Loss of Spirit’s Discipline on Other Airline’s Prices 50
 G.    The Experts ............................................ 53
   1. Dr. Gowrisankaran ...................................... 53
   2. Dr. Chipty ............................................. 55
   3. Dr. Hill ............................................... 56
   4. Mr. Scheff ............................................. 59
 H.    The Litigation ......................................... 61
III. CONCLUSIONS OF LAW ....................................... 62
 A.    The Clayton Act ........................................ 62
 B.    Mode of Analysis ....................................... 63
 C.    Market Definition ...................................... 66
   1. Legal Framework ........................................ 66
   2. Defining the Market .................................... 68
 D.    Prima Facie Case ....................................... 73
   1. Presumption of Illegality .............................. 73
   2. Direct Evidence of Anticompetitive Effects ............. 76
      a. Elimination of Head-to-Head Competition Between JetBlue
      and Spirit............................................... 76
      b.   Elimination of Spirit’s Competition with Other Airlines
           78


                                   [ii]
      Case 1:23-cv-10511-WGY Document 461 Filed 01/16/24 Page 3 of 113



      c.   Elimination of Spirit’s as a Choice for Consumers ... 80
     3. The Government Has Established a Prima Facie Case ...... 81
 E.    The Defendant Airlines’ Rebuttal ....................... 81
     1. Ease of Entry .......................................... 83
      a.   Timely Entry ........................................ 85
      b.   Likely Entry ........................................ 88
      c.   Sufficient Entry .................................... 91
     2. The Government’s Data .................................. 95
     3. Pro-competitive Effects of the Proposed Acquisition .... 97
 F.    Additional Anticompetitive Effect ..................... 103
IV. THE INJUNCTIVE REMEDY ................................... 107
V.    CONCLUSION .............................................. 108
VI. ORDER ................................................... 109




                                   [iii]
    Case 1:23-cv-10511-WGY Document 461 Filed 01/16/24 Page 4 of 113



     “[I]t's ‘tough to make predictions, especially about the

future.’”    Saint Alphonsus Med. Ctr.-Nampa Inc. v. St. Luke's

Health Sys., Ltd., 778 F.3d 775, 783 (9th Cir. 2015).        Perhaps

apocryphal, this statement has been attributed to New York

Yankees catcher Yogi Berra, the physicist Niels Bohr, and

others.1    The statement, however, also rings true when attempting

to predict the future of the airline industry; as a fast-moving

enterprise, with portable assets and dynamic growth cycles, the

industry’s potential responses to changes in economic conditions

are almost impossible to predict.       Yet, federal antitrust law

aims to preserve the free functioning of markets and

participation of diverse competitors by attempting to do just

that: predict the future.    Here, based on a robust review of

evidence presented over four weeks of trial, this Court makes

its best attempt.

     There are no “bad guys” in this case.       The two corporations

are -- as they are expected to -- seeking to maximize

shareholder value.    The Department of Justice is -- as the law

requires -- speaking for consumers who otherwise would have no




     1 As Judge Hurwitz notes in St. Alphonsus, “[t]his quotation
is not included in the definitive book of Berra quotations, see
Yogi Berra, The Yogi Book: “I Really Didn't Say Everything I
Said!” (1998), and its provenance is at best unclear, see, e.g.,
The Yale Book of Quotations 92 (Fred R. Shapiro ed., 2006)
(attributing a variant to Niels Bohr, but noting that the exact
authorship is disputed).” 778 F.3d at 783 n.7.
                                  [1]
       Case 1:23-cv-10511-WGY Document 461 Filed 01/16/24 Page 5 of 113



voice.     Their forthrightness, civility, and zealous advocacy

have immeasurably assisted the Court in reaching out for

justice.

  I.       INTRODUCTION

       On July 28, 2022, Jet Blue Airways Corporation (“JetBlue”)

and Spirit Airlines, Inc. (“Spirit”) (collectively, the

“Defendant Airlines”) executed a final merger agreement.

JetBlue, the sixth largest airline in the United States, agreed

to pay $3.8 billion to acquire Spirit, the seventh largest

airline in the United States.        The proposed merger would create

the nation’s fifth largest airline, accounting for 10.2% of the

domestic market.      Immediately after the merger agreement was

signed, speculation began regarding the merger’s antitrust

implications.2

       JetBlue is a so-called low-cost carrier (“LCC”), relying on

point-to-point flying using fewer types of aircraft.           Spirit is

known as an “Ultra-Low-Cost Carrier” (“ULCC”), meaning that its

offerings target budget-conscious passengers with low-cost,

often unbundled flight options.        The proposed merger would




       See, e.g., Mary Schlangenstein & Leah Nylen, JetBlue’s
       2

$3.8 Billion Spirit Deal Faces Tricky Antitrust Review,
Bloomberg News (July 29, 2022),
https://www.bnnbloomberg.ca/jetblue-s-3-8-billion-spirit-deal-
faces-tricky-antitrust-review-1.1798883.

                                     [2]
    Case 1:23-cv-10511-WGY Document 461 Filed 01/16/24 Page 6 of 113



transfer all Spirit’s assets to JetBlue and remove Spirit from

the market.

     Invoking the Clayton Act, 15 U.S.C. § 18, the United States

Department of Justice, joined by the District of Columbia, the

Commonwealth of Massachusetts, and the states of California,

Maryland, New Jersey, New York, and North Carolina (collectively

hereinafter, “the Government”), filed this action to enjoin the

Defendant Airlines from proceeding with the merger.        The

resulting 17-day bench trial on the merits featured testimony by

twenty-two witnesses, over 900 exhibits, and thousands of pages

of evidence.    The Court also traveled to a nearby location to

take in a view of both Defendant Airlines’ seat configurations.

The trial transcript exceeds 2,500 pages, accompanied by over

eighty binders containing exhibits presented to witnesses.

Post-trial submissions exceed 700 pages.3

     The parties’ thorough presentation, as well as a careful

review of the parties’ voluminous submissions, illumines certain

key findings:   The airline industry is an oligopoly that has

become more concentrated due to a series of mergers in the first

decades of the twenty-first century, with a small group of firms

in control of the vast majority of the market.       See In re Dom.


     3 The Court also received submissions from amici, including
the Association of Flight Attendants-CWA, Transport Workers
Union Local 570, and Travelers United. The Court is grateful
for these helpful, educational submissions.

                                  [3]
    Case 1:23-cv-10511-WGY Document 461 Filed 01/16/24 Page 7 of 113



Airline Travel Antitrust Litig., No. MC 15-1404 (CKK), 2023 WL

5930973, at *10 (D.D.C. Sept. 12, 2023).      JetBlue and Spirit are

not two of the largest airlines, though were they to merge, they

would grow in size to further compete with the larger airlines.

     From the Defendant Airlines’ perspective, organic growth is

too slow, as there are too few new aircraft available to meet

industry demand.    JetBlue’s inorganic growth through acquisition

of Spirit’s sizable fleet of retrofittable aircraft –- of the

same type -- largely solves this problem and is a tried-and-true

growth strategy in this industry.

     A post-merger, combined firm of JetBlue and Spirit would

likely place stronger competitive pressure on the larger

airlines in the country.    At the same time, however, the

consumers that rely on Spirit’s unique, low-price model would

likely be harmed.   The Defendant Airlines currently compete

head-to-head throughout the country, and that competition,

particularly Spirit’s downward pressure on prices, benefits all

consumers.   Spirit’s unique position in the domestic scheduled

passenger airline industry would be exceedingly difficult for

another airline, or a combination of other airlines, to

replicate, even with low barriers to entry and the dynamic

nature of the industry inasmuch as they face the same, industry-

wide aircraft sourcing issues.




                                  [4]
    Case 1:23-cv-10511-WGY Document 461 Filed 01/16/24 Page 8 of 113



        The Clayton Act was designed to prevent anticompetitive

harms for consumers by preventing mergers or acquisitions the

effect of which “may be substantially to lessen competition, or

tend to create a monopoly.”    15 U.S.C. § 18.     Summing it up, if

JetBlue were permitted to gobble up Spirit -– at least as

proposed -- it would eliminate one of the airline industry’s few

primary competitors that provides unique innovation and price

discipline.    It would further consolidate an oligopoly by

immediately doubling JetBlue’s stakeholder size in the industry.

Worse yet, the merger would likely incentivize JetBlue further

to abandon its roots as a maverick, low-cost carrier.        While it

is understandable that JetBlue seeks inorganic growth through

acquisition of aircraft that would eliminate one of its primary

competitors, the proposed acquisition, in this Court’s attempt

to predict the future in murky times, does violence to the core

principle of antitrust law: to protect the United States’

markets –- and its market participants -- from anticompetitive

harm.

        Accordingly, for the reasons below, the Court rules that

the proposed merger, as it stands, would substantially lessen

competition in violation of the Clayton Act.       The July 28, 2022

proposed merger, therefore, is enjoined.




                                  [5]
    Case 1:23-cv-10511-WGY Document 461 Filed 01/16/24 Page 9 of 113



  II.    FINDINGS OF FACT4

         A. The Industry

     The United States passenger airline industry is dominated

by four major airlines, often referred to as the “Big Four”:

Delta Airlines (“Delta”), American Airlines (“American”), United

Airlines (“United”), and Southwest Airlines (“Southwest”).

These four airlines control 80% of the industry (with the next

largest airline, Alaska Airlines, garnering 6% of airline

revenue in the United States).     The Big Four have built their

strength over the past two decades through a series of mergers

and consolidations of the industry.5

     The largest three carriers, Delta, United, and American are

what the industry refers to as “legacy carriers” (or “network

carriers”), having been in operation prior to the 1978

deregulation of the airline industry.      See In re Dom. Airline

Travel Antitrust Litig., 2023 WL 5930973, at *5 (describing

legacy carriers as “airlines that existed prior to the Airline

Deregulation Act of 1978[] in the United States domestic airline

industry[,] includ[ing] . . . American, Delta, and United . . .




     4 The findings of fact are largely taken from the parties’
respective proposed findings of fact; citations and quotations
are omitted for readability.
     5 For example, between 2001 and 2013, Delta absorbed

Northwest Airlines; United absorbed Continental Airlines;
American merged with TWA, America West, and U.S. Airways; and
Southwest bought Air-Tran Airways.

                                  [6]
       Case 1:23-cv-10511-WGY Document 461 Filed 01/16/24 Page 10 of 113



.”).       These legacy carriers utilize global networks based upon a

“hub-and-spoke” model, concentrating operations in “hub” cities

in order to then offer travelers connecting flights to numerous

domestic and international destinations.          Legacy carriers offer

multiple classes of service (basic economy, economy, premium

economy, business class, first class, etc.) and a broad range of

amenities to cater to as many different types of travelers as

possible.      Legacy carriers have wide-ranging membership,

frequent-flyer, and loyalty programs, with connected credit card

and travel partners, in order to attract and retain customers.

These programs alone are worth billions of dollars.            Legacy

carriers also often hold contracts with large businesses

throughout the country to ensure their business travel needs are

covered.

       Southwest, though a member of the Big Four, is not a legacy

carrier.      Instead, it is commonly referred to as a “low-cost

carrier” (“LCC”).      Other LCCs include New Pacific Airlines and

JetBlue.6      A low-cost carrier is able to offer lower fares than

its competitors by keeping its operating costs lower, typically

through the use of fewer types of aircraft (enabling labor,

maintenance, training, and other cost efficiencies), operating




       Alaska Airlines has sometimes been referred to as a low-
       6

cost carrier. See infra p. 8 (discussion of Alaska Airline’s
offerings).

                                     [7]
    Case 1:23-cv-10511-WGY Document 461 Filed 01/16/24 Page 11 of 113



out of less-costly airports, and through the use of a smaller

point-to-point network.    A point-to-point network is

characterized by flying a greater proportion of passengers on

nonstop rather than connecting itineraries.       With lower overall

operating costs, low-cost carriers are also sometimes able to

offer more or better quality amenities; JetBlue, for instance,

offers free Wi-Fi for all customers, seatback entertainment in

all seats, and free, name-brand refreshment offerings for all

customers to enjoy.

     Some airlines, such as Alaska Airlines and Hawaiian

Airlines,7 operate as hybrids of the low-cost model and the

legacy model (commonly referred to as “hybrid carriers”).

JetBlue has, at times, also been referred to as a hybrid

carrier, though it views itself as a “maverick” and “uniquely

disruptive” low-cost carrier.     Tr. 11/6/23 (Robin Hayes) 124:23

– 125:1-4; 126:11-15.    Hybrid carriers often operate a hub-and-

spoke network at the regional level and are thereby able to keep

costs down while offering the level of service generally




     7 On December 3, 2023, Alaska Airlines and Hawaiian Airlines
announced their agreement to combine, with Alaska Airlines to
acquire Hawaiian Airlines. As per their agreement, both
airlines would continue to operate as separate brands. The
merger agreement is valued at approximately $1,900,000,000. See
Niraj Chokshi & Ivan Penn, Alaska Airlines Plans to Buy Hawaiian
Airlines, N.Y. Times (Dec. 3, 2023),
https://www.nytimes.com/2023/12/03/business/alaska-airlines-
hawaiian-airlines-deal.html.

                                  [8]
    Case 1:23-cv-10511-WGY Document 461 Filed 01/16/24 Page 12 of 113



attributed to the legacies.     For example, Alaska Airlines and

Hawaiian Airlines both have a “first-class” product, and JetBlue

has, in certain markets, a “Mint” product, comparable to a

first-class product.

     ULCCs include Spirit, Frontier Airlines (“Frontier”),8

Allegiant Air (“Allegiant”),9 Avelo Airlines (“Avelo”),10 Breeze


     8 Frontier has approximately a 2% market share of domestic
airline travel. It currently has bases in Orlando International
(“Orlando (MCO)”), Harry Reid International Airport (“Las Vegas
(LAS)”), Denver International Airport (“Denver (DEN)”), Dallas-
Fort Worth International Airport (“Dallas (DFW)”), Phoenix Sky
Harbor International Airport (“Phoenix (PHX)”), Tampa
International Airport (“Tampa (TPA)”), Hartsfield-Jackson
Atlanta International Airport (“Atlanta (ATL)”), Philadelphia
International Airport (“Philadelphia (PHL)”) and Miami
International Airport (“Miami (MIA)”). For ease of reference,
the three letter Federal Aviation Administration (“FAA”)
location identifier codes of airports are included throughout.
See Encodes/Decodes, FAA,
https://www.faa.gov/air_traffic/flight_info/aeronav/aero_data/lo
c_id_search/Encodes_Decodes/ (last visited Dec. 29, 2023).
Frontier’s current fleet comprises 134 planes, and as of
September 30, 2023, it had an order book of 214 planes.
Frontier is the lowest cost -- as in, it has the lowest
operating cost -- airline in the United States. Frontier’s CEO
estimated it would take Frontier five to eight years to replace
Spirit and operate its existing schedule based on its current
plan of 15-20 percent annual growth. This estimate does not,
however, include maintaining Frontier’s pre-existing growth plan
in addition to serving Spirit’s routes.
     9 Allegiant has a revenue share approximately between 1% and

2%. Allegiant serves the third-highest number of destinations
(125) out of any U.S. airline and serves close to 600 unique
routes based on its network diversification strategy. Allegiant
also competes in metropolitan regions by providing service to
secondary airports that compete with primary airports in the
same area. Allegiant currently has 127 aircraft in its fleet
and estimates having 230 aircraft by 2029.
     10 In 2021, Avelo operated 3 planes; now, only two years

later, it operates 16 airplanes and 68 routes. Avelo has “all

                                  [9]
    Case 1:23-cv-10511-WGY Document 461 Filed 01/16/24 Page 13 of 113



Airways (“Breeze”),11 and Sun Country Airlines (“Sun Country”).12

ULCCs make up a small fraction of the market overall, with

approximately 7% of total revenue attributable to ULCCs.         ULCCs

tend to offer travelers even lower fares than low-cost carriers

by lowering their cost structures further (often through the use

of a single type of aircraft), offering simplified onboard

experiences, and removing some features traditionally included

in the price of an airline ticket.       A passenger on an ULCC might

pay extra to check or even carry-on a bag, access Wi-Fi in the

air, receive basic refreshments (food or drink) on the plane, or

to receive additional legroom.     These types of basic fares, with

add-on costs for additional amenities, are referred to as

“unbundled fares.”13   Like LCCs, ULCCs generally operate point-




of the regulatory approvals and designations it needs to fly
commercially internationally” and “could support flights, for
instance, to Mexico or the Caribbean.” Tr. 11/3/23 (Trevor
Yealy/Avelo) 38:25–39:20.
     11 Breeze Airways operated its first flight on May 27, 2021,

with a fleet of eight aircraft. Since then, Breeze has grown
rapidly, and as of September 6, 2022, had a fleet of 21 aircraft
and 150 routes. As of September 6, 2022, Breeze had plans to
add the following aircraft to its fleet: 12 in 2023, 18 in 2024,
18 in 2025, and 10 in 2026.
     12 Sun Country’s aircraft are almost entirely based out of

Minneapolis-St. Paul International Airport (“Minneapolis
(MSP)”); over 70% of its routes include MSP in the city pair.
     13 Spirit recognizes that one way this unbundled fare

structure generates revenue is through these ancillary
amenities; Spirit estimates that two-thirds of Spirit’s
customers purchase at least one. Approximately half of Spirit’s
revenue in 2022 came from ancillary amenities (as opposed to the
fare for travel).

                                  [10]
    Case 1:23-cv-10511-WGY Document 461 Filed 01/16/24 Page 14 of 113



to-point networks, and ULCCs are often characterized by high

seat density (number of seats on a plane) and high utilization

(how many flights a plane might make per day).        ULCCs are the

fastest growing segment of the domestic airline industry.          In

attempting to compete with ULCCs, other airlines (legacies,

LCCs, and hybrid carriers) have introduced unbundled fare

options, known as “basic economy.”

     The different airline types generally cater to different

types of customers.    While airlines tend to categorize customers

as “leisure” and “business” travelers (some leisure customers

are even further categorized as “visiting friends and relatives”

(“VFR”)), customers exist on a “continuum” and there are no

“firm boundaries” around customer segments.       Thus, even within

the “business” and “leisure” categories, consumer preferences



     Such offerings bring to mind the classic farce “Master of
the House,” from the musical Les Miserables:

     Reasonable charges
     Plus some little extras on the side!
     Charge 'em for the lice
     Extra for the mice
     Two percent for looking in the mirror twice
     Here a little slice
     There a little cut
     Three percent for sleeping with the window shut
     When it comes to fixing prices
     There are a lot of tricks he knows
     How it all increases
     All those bits and pieces
     Jesus! It's amazing how it grows!

     Les Miserables, Lyrics by Herbet Kretzmer.

                                  [11]
    Case 1:23-cv-10511-WGY Document 461 Filed 01/16/24 Page 15 of 113



differ.    For example, some business customers -- i.e., people

traveling for work or corporate clients -- are cost-conscious,

particularly if traveling on behalf of a small business or for

self-employment.

     The legacy carriers segment their onboard offerings in

order to cater to as many different types of customers as

possible, offering fares ranging from a lower-end basic economy

product to premium products like business class or first class,

while also offering a traditional main cabin ticket.         JetBlue

similarly offers a segmented product, with five fare classes.

ULCCs, in comparison, target cost-conscious, often leisure and

VFR customers, with their unbundled, less differentiated

product.   A carrier’s network plan is designed with its target

consumer in mind; a ULCC might focus more on leisure

destinations like Orlando, Florida, while a legacy carrier or

even a LCC will have a more expansive network to cater to a

broader range of consumers.

     Since the COVID-19 pandemic, demand for leisure travel has

increased.   Accordingly, airlines have continued to shift

capacity to leisure markets following the COVID-19 pandemic.            As

a dynamic industry, airlines are constantly responding to

consumer demand and frequently shift route plans based on which




                                  [12]
    Case 1:23-cv-10511-WGY Document 461 Filed 01/16/24 Page 16 of 113



they believe will be the most profitable.14       Entry onto a route

is rapid.15   Once a carrier decides to enter a route, it can do

so within two weeks or up to six months, depending on whether it

already has a presence at an endpoint (one of the airports on

the route).

     Multiple industry-wide problems are constraining the growth

of individual airlines.     First, airlines are experiencing

significant delays in delivery of aircraft from manufacturers

following the pandemic.16    Airbus, the manufacturer for both

Spirit and JetBlue, is facing significant delivery delays and


     14 “[E]ach carrier has significant turnover in its route
structure from year to year.” Tr. 11/27/23 (Nicholas Hill)
15:12–16:3. In 2023, Spirit, for example, entered and exited
approximately 33% of its 2022 route network structure.
Legacies, LCCs, and ULCCs have entered a significant number of
routes in 2023. In 2023 alone, the “aggregate total number of
routes entered [by all carriers] is going to be somewhere
between 300 or 400 routes.” Tr. 11/27/23 (Nicholas Hill) 15:1–
7. Other ULCCs also had a high percentage of entries and exits
in 2023 as compared to their 2022 networks: Breeze, Avelo, Sun
Country, and Frontier entered and exited 110%, 81%, 45%, and 38%
of their 2022 route networks, respectively. Tr. Ex. 886.
Legacies entered and exited between 8% and 11% of their 2022
route networks this year. Id.
     15 “Route” refers to a one-way, scheduled airline passenger

service origin and destination (“O&D”) pair. For instance, a
direct flight from Boston, Massachusetts to San Diego,
California is a “route.”
     16 The recent grounding of all Boeing 737 Max 9 planes by

the FAA, in response to an emergency landing on Friday, January
5th, 2024, is likely to exacerbate aircraft shortages. See
Christopher F. Schuetze, Keith Bradsher & Melissa Eddy, What to
Know About Boeing’s 737 Max 9 and the Alaska Airlines Grounding,
N.Y. Times (Jan. 8, 2024),
https://www.nytimes.com/2024/01/06/business/alaska-airlines-
boeing-737-max-9.html.

                                  [13]
    Case 1:23-cv-10511-WGY Document 461 Filed 01/16/24 Page 17 of 113



does not expect to allow airlines to add to their order books

prior to 2029.17   Engine issues have resulted in smaller growth

plans for multiple Airbus customers in the industry including

JetBlue, Hawaiian Airlines, Frontier, and Spirit.        Second, and

similarly, engine issues have also forced airlines, including

Spirit, to prematurely and temporarily ground aircraft in their

fleets to accommodate inspections.       JetBlue expects its number

of temporarily grounded aircraft to increase in 2024.

     Third, the Federal Aviation Administration (“FAA”) is

facing a dire shortage of Air Traffic Controllers.18        During the

COVID-19 pandemic, many of the FAA’s experienced Air Traffic

Controllers retired.    As air travel demand rebounded, Air

Traffic Control (“ATC”) centers could not keep up with the

increased flying capacity across the country.        As a result, ATC

centers have struggled to support scheduled air traffic, at


     17 Airbus’ delays stem mostly from engine problems. Pratt &
Whitney, the manufacturer of the engines for the Airbus new
engine option aircraft (“NEO”), has had engine issues since
2016. In July 2023, Pratt & Whitney announced that the geared
turbo engine fans (“GTFs”) of the NEOs had new problems
requiring accelerated engine inspections. Specifically, one
issue concerns contaminated powdered metal, which required
planes to be pulled prematurely from the schedule for
maintenance. The powdered-metal issue requires almost 300 days
of maintenance per plane, as Pratt & Whitney has to remove
engines for X-rays and reassembly.
     18 See, e.g., Emily Steel & Sydney Ember, Drunk and Asleep

on the Job: Air Traffic Controllers Pushed to the Brink, N.Y.
Times (Dec. 3, 2023),
https://www.nytimes.com/2023/12/02/business/air-traffic-
controllers-safety.html.

                                  [14]
    Case 1:23-cv-10511-WGY Document 461 Filed 01/16/24 Page 18 of 113



times forcing airlines to limit the number of flights operating

certain routes to/from affected airports.

     Finally, pilot staffing issues have recently artificially

constrained airlines’ growth.     As with ATC, during the COVID-19

pandemic, many legacy airline pilots retired; as demand bounced

back, legacy airlines scrambled to hire pilots, including

recruiting pilots from competing airlines.       This pilot shortage

caused pilot attrition issues for Spirit and other airlines in

2022, which persisted until at least the first half of 2023.            In

late 2022 and the first half of 2023, pilot attrition was

described by Spirit executives as one of, if not the “main

driver[s]” of constraints Spirit faced to increasing its

utilization.

       B. The Defendants

     The Defendant Airlines in this litigation, JetBlue and

Spirit, are two of the fastest growing airlines in the nation.

JetBlue is the sixth largest airline by revenue in the United

States, with an approximately 5% market share based on revenue.

Spirit is the seventh largest airline in the United States as

measured by available seat miles, with an approximately 4%

market share based upon revenue.

               1. JetBlue

     JetBlue primarily serves the East Coast, with 93% of its

routes touching at least one of its six focus cities: New York,


                                  [15]
    Case 1:23-cv-10511-WGY Document 461 Filed 01/16/24 Page 19 of 113



Boston, Miami/Fort Lauderdale,19 Orlando, Los Angeles, and San

Juan.        JetBlue’s focus cities differ from the hubs of legacy

carriers by catering primarily to travel by the local population

of the city as opposed to connecting customers.        As of December

31, 2022, JetBlue served 108 cities in 32 states, the District

of Columbia, the Commonwealth of Puerto Rico, the U.S. Virgin

Islands, and 24 countries in the Caribbean and Latin America,

Canada, and Europe.       Fifty percent of JetBlue’s routes touch New

York, where JetBlue is only the fourth largest carrier on a

revenue basis (following Delta, American, and United).         At

Boston Logan International Airport (“Boston(BOS)”), JetBlue and

Delta are the two largest airlines by total passengers carried;

at Fort Lauderdale(FLL), JetBlue and Spirit are the two largest

airlines by passengers carried.

        JetBlue was founded in 1998 and commenced operations in

2000 with the mission to “bring humanity back to air travel.”




       Airlines often refer to a metropolitan area as one city
        19

for the purposes of network planning because customers in those
markets have the choice to fly out of more than one airport.
For instance, the Miami/Fort Lauderdale “market” includes
flights departing from both Miami(MIA) and flights departing
from Fort Lauderdale (FLL). Other common examples include the
New York City metropolitan area, where customers could choose to
fly out of LaGuardia Airport (“LaGuardia(LGA)”), Newark Liberty
International Airport (“Newark(EWR)”), and John F. Kennedy
International Airport (“New York (JFK)”), and the Orlando
metropolitan area, where customers could choose to fly out of
either Orlando(MCO) or Orlando Sanford International Airport
(“Sanford (SFB)”).

                                    [16]
    Case 1:23-cv-10511-WGY Document 461 Filed 01/16/24 Page 20 of 113



Tr. Ex. 612 at 1226–27.    JetBlue has implemented innovative

cost-saving strategies that help enable it to profit without

increases in fares.    JetBlue prides itself as a “maverick” and

“unique disruptor” in the airline industry, often taking an

aggressive approach to competing with legacy and other low-cost

carriers.   When JetBlue enters a market, fares tend to decrease,

and when JetBlue exits a market, fares tend to increase.         This

pro-consumer phenomenon is known as the “JetBlue Effect,” a term

coined by an academic study from the Massachusetts Institute of

Technology.   Because the JetBlue Effect forces other airlines to

lower their fares, air travelers do not need to be JetBlue

customers to benefit from the JetBlue Effect.

     Despite its lower cost base and lower fares, JetBlue offers

the most legroom in coach, with a seat pitch (the space between

rows of seats, generally referred to as legroom by passengers)

of at least 32 inches, and, in some of its airplanes, it offers

the widest seat in coach.     JetBlue is the only domestic airline

offering seatback entertainment on every seat, including up to

100 channels of free live TV, and a library of recorded video

media, available for all customers free of charge.        JetBlue was

the first airline to provide free high-speed Wi-Fi on its

domestic flights and is still the only U.S. airline offering

free high-speed Wi-Fi across its entire fleet.        Finally, JetBlue




                                  [17]
    Case 1:23-cv-10511-WGY Document 461 Filed 01/16/24 Page 21 of 113



offers all its customers free, unlimited brand-name snacks and

soft drinks.

     JetBlue’s business model has evolved over time and

continues to evolve today.     It originally offered a coach-only

product, but by 2014 was offering the first domestic lie-flat

business class product, called “Mint”.       Since 2014, JetBlue has

expanded Mint to international routes.       During November 2019,

JetBlue also adjusted its offerings to introduce an unbundled

product called “Blue Basic,” which unbundles the JetBlue base

fare from other ancillary items, to better compete with Spirit’s

and other ULCCs’ standard products as well as with legacy

airlines’ basic economy products.20      In total, JetBlue offers

five classes of service: an unbundled, basic economy seat (“Blue

Basic”), a main cabin seat (“Blue”), a main cabin seat with

priority security and boarding (“Blue Extra”), an “Even More

Space” option (with, as the name suggests, an increased seat

pitch for even more space), and Mint, its premium offering.

Blue Basic is available on all JetBlue flights.

     As of December 31, 2022, JetBlue had a fleet of 290

aircraft, consisting of 230 Airbus and 60 Embraer aircraft.




     20Not surprisingly, the same customers that fly ULCCs,
including Spirit, tend to purchase Blue Basic fares. An
analysis of average income data shows that customers purchasing
Blue Basic fares (JetBlue’s unbundled, lowest fare offering) and
Spirit fares have similar average annual incomes.

                                  [18]
    Case 1:23-cv-10511-WGY Document 461 Filed 01/16/24 Page 22 of 113



Without the merger, JetBlue will have approximately 335 aircraft

in 2027, but with the merger, JetBlue would have 600 aircraft in

2027.        JetBlue asserts that in order to increase its relevance

and scale, and therefore compete with larger airlines, it must

merge with another airline.21

        Since 2015, JetBlue has sought a merger transaction to grow

its scale and better compete with the Big Four carriers.         It

first unsuccessfully sought to acquire Virgin America in 2015

and 2016.       In 2017, JetBlue again considered a potential

acquisition transaction, this time focusing on Spirit and one

other airline as potential candidates.       As part of its

exploration of a potential transaction in 2017, JetBlue spent

roughly two to three weeks investigating the potential synergies

that could be generated through a transaction with either of the

two carriers.       JetBlue ultimately did not pursue a transaction

with Spirit in 2017, primarily because it determined that it

could not afford to purchase Spirit in light of its then-current

share price and the expected premium to be paid based on Alaska

Airlines’ acquisition of Virgin America.

        JetBlue, however, was undeterred, and again considered

acquiring Spirit as soon as late 2019.       JetBlue viewed Spirit as



       JetBlue Chief Executive Officer Robin Hayes testified
        21

that Jetblue would “never get to the size that [the legacies]
are based on organic growth.” Tr. 11/6/23 (Robin Hayes/JetBlue)
85:14–18.

                                    [19]
    Case 1:23-cv-10511-WGY Document 461 Filed 01/16/24 Page 23 of 113



an ideal target because of its fleet and engine commonality,

which would allow for cost savings and efficient operations.

Ultimately, in February 2020, JetBlue’s Board of Directors

authorized its CEO, Robin Hayes, to approach Spirit about a

potential merger.   However, the COVID-19 pandemic intervened,

and no approach was made.

              2. Spirit

     Spirit is the largest ULCC in the United States in terms of

both seat capacity, measured in available seat miles (“ASMs”)

and number of aircraft.22    Spirit has grown faster on a

percentage basis than legacy carriers and low-cost carriers, and

is among the fastest growing ULCCs.      Today, Spirit accounts for

about 46% of domestic ULCC capacity (as measured in ASMs) and

Spirit accounts for 71% of domestic ULCC capacity on the routes

it serves.   As of year-end 2022, Spirit “served 92 destinations

in 16 countries throughout the United States, Latin America[,]

and the Caribbean.”    Spirit “offers low-fare service across the

lower 48 [states of the United States] and Latin America.”

Christie (Spirit) Lit. Dep. 6/6/2023, 17:20-22.      Spirit’s network

is primarily comprised of routes in the Eastern half of the




     22Capacity in the airline industry is generally measured in
terms of “available seat miles,” or “ASMs.” One ASM is one seat
on one plane flying one mile. Thus, an airline can increase its
ASMs by operating more planes, offering more seats, or flying
longer routes.

                                  [20]
    Case 1:23-cv-10511-WGY Document 461 Filed 01/16/24 Page 24 of 113



United States, but Spirit is working toward becoming “a more

national carrier” by serving cities in the West.        Tr. 11/7/23

(John Kirby/Spirit) 130:12-25.     Spirit’s three largest cities,

called “core” cities, are Fort Lauderdale, Florida; Orlando,

Florida; and Las Vegas, Nevada -- all major leisure

destinations.   In addition, Spirit identifies Los Angeles,

California and the metropolitan area of New York City, New York

(“New York City”) as part of its growing network “foundation.”

     Spirit’s “objective is to deliver low fares so that more

people have the ability to travel,” and Spirit “strive[s] to be

recognized by [its] guests and potential guests as the low-fare

leader in the markets [it] serves.”      Christie (Spirit) Dep.

6/6/23, 18:5-6,; Tr. Ex. 39 at 447.      Specifically, Spirit’s 2022

10-K explains that Spirit focuses on “price-sensitive

travelers,” for whom Spirit’s “low fares and unbundled service

offering” are particularly appealing.      Tr. Ex. 39 at 448.

Spirit’s “business model allows [Spirit] to compete principally

by offering customers unbundled base fares that remove

components traditionally included in the price of an airline

ticket.”   Id. at 444.

     Spirit is known as an innovator in the airline industry,

both in terms of pioneering the ULCC business model (Spirit was

the first airline to introduce unbundled fares to the United

States) and through its innovation in technology (Spirit was the


                                  [21]
     Case 1:23-cv-10511-WGY Document 461 Filed 01/16/24 Page 25 of 113



first domestic airline to introduce self-check baggage and

handicap-accessible lavatories on most aircraft).

      When deciding where to fly, Spirit -- like other airlines -

- primarily seeks profitability.       One consideration in deciding

where to fly is the extent to which Spirit can stimulate demand

in the marketplace by offering lower fares -- the so-called

“Spirit Effect.”23    When deciding which new routes to enter,

Spirit typically looks to enter high-fare markets with fares

that are lower than the pre-Spirit average fare to stimulate or

increase passenger demand.      Increased passenger demand can mean

either “more travelers or more frequent travelers” on not just

Spirit flights on a route, but across all carriers flying that

route.     Tr. 10/31/23 (Edward Christie/Spirit) 103:22-25; 104 1-

8.   Spirit has found that, typically, once Spirit enters a

route, passenger demand increases and the average fare on that

route decreases.

      The Spirit Effect on a route does not always lead to a

profit for Spirit.     Sometimes to stimulate demand, Spirit has to

lower fares to an unsustainable level, causing Spirit to exit

that route.    Like all airlines, Spirit makes changes to its

network “constantly.”     Tr. 11/8/23 (John Kirby/Spirit) 52:21–




       The Spirit Effect is similar to the JetBlue Effect. Much
      23

of this litigation, in fact, centered on whether the JetBlue
Effect is as strong as the Spirit Effect.

                                   [22]
    Case 1:23-cv-10511-WGY Document 461 Filed 01/16/24 Page 26 of 113



53:1.        Spirit can add routes to its network in as little as five

weeks (or three months if it is not already present in at least

one of the airports in the origin-destination pair).

        Spirit’s unbundled model means the base price of an airline

ticket is separate from the price of additional items.         These

additional items, called “ancillaries,” include things like

checked and carry-on bags, advance seat assignments, priority

boarding, and refreshments.       Customers can also pay for an

ancillary titled the “Big Front Seat”, Spirit’s front-of-cabin,

larger seating most similar to the domestic first-class seat

product on legacy airlines.24

        Spirit typically has higher aircraft -- and gate --

utilization rates than its competitors.       Spirit operates its

aircraft for more hours each day (13.7 hours on average),

allowing the airline to attain more ASMs out of a single

aircraft.       Spirit’s predominately point-to-point network helps

Spirit increase the daily use of its aircraft as Spirit’s planes

do not have to wait for connecting flights, as with a hub

network.       Spirit also lowers its costs by highly utilizing its

gates; Spirit strives to turn a higher number of airplanes per




       Though the seats are larger, “Big Front Seat”
        24

accommodation does not include the added amenities common in a
first class cabin, such as free premium refreshments and
tailored service. By foregoing such amenities, Spirit lowers
costs further.

                                    [23]
    Case 1:23-cv-10511-WGY Document 461 Filed 01/16/24 Page 27 of 113



day per gate than “an average airline.”       Tr. 10/31/23 (Edward

Christie/Spirit) 88:16-23.       Spirit’s current goal is to operate

eight flights per day, per gate at the airports it serves.

Spirit, therefore, strongly prefers to enter an airport using a

preferential gate versus a common-use gate, in order to have

more flexibility and control over gate use.25       Spirit’s

utilization is also increased by operating higher-density

aircraft; its narrower seat pitch allows for more seats, and

therefore more customers, per aircraft.

        As of December 31, 2022, Spirit operated a fleet of 194

Airbus aircraft.       Between 2010 and 2023, Spirit’s ASMs grew 6-

fold.        Such growth has slowed, however, and Spirit does not

expect its historic ASM growth rate to continue in the near

future.

        Spirit has not been profitable since 2019, resulting in a

cumulative net loss of close to $2,000,000,000 since the onset

of the COVID-19 pandemic.       The causes for Spirit’s decline in

financial outlook are complex, as various risks materialized,

while opportunities did not.       First, since the COVID-19

pandemic, as the increase in demand for leisure capacity has




       Preferential gates are typically leased by an airport to
        25

a specific carrier, which is then free to use the gates as
desired, provided the carrier does not underutilize the gate.
In contrast, common-use gates are not exclusive to a given
carrier and can be used by any airline.

                                    [24]
    Case 1:23-cv-10511-WGY Document 461 Filed 01/16/24 Page 28 of 113



grown, so has the increase in competition for leisure travelers

from other airlines.    Second, Spirit’s financial outlook has

been impacted significantly by issues with Pratt & Whitney’s NEO

engines.    At the beginning of 2023, Spirit had to ground       three

of its 200-or-so aircraft; today, Spirit has twelve grounded

aircraft.   The issues with Pratt & Whitney’s engines uniquely

affect Spirit: Spirit is the largest operator of the impacted

GTF-powered Pratt & Whitney NEO engines in the United States.

Other challenges that have affected Spirit’s profitability have

included disruptions flowing from understaffing at air traffic

control centers in Jacksonville, Florida, and increased costs of

pilots and flight attendants.

     As a result of these cumulative operational and financial

challenges, Spirit has already taken steps to slow its growth,

exit routes, and revise its business plans.       Spirit currently

has no prediction as to when it will return to profitability.

In pre-pandemic years, Spirit tended to exit one or two dozen

routes per year.   By contrast, Spirit exited 70 routes in 2022,

and 40 routes in the first half of 2023, representing more than

20% of its network.    Spirit also does not plan to enter the

routes or cities it hoped to enter as recently as mid-2023.             As

a result of its financial difficulties, Spirit recently

renegotiated its contract for aircraft deliveries with Airbus,

Spirit’s manufacturer, to grow at a slower pace.


                                  [25]
    Case 1:23-cv-10511-WGY Document 461 Filed 01/16/24 Page 29 of 113



     Spirit began to explore the idea of merging with another

airline as early as 2016.     Over the years, it has considered

Frontier, Sun Country, Viva Colombia, Allegiant, and JetBlue as

potential merger partners.     Spirit has consistently considered a

merger to be advantageous because it does not believe it could

achieve competitive significance by independent growth alone.

       C. The Relevant Airports

     The airports that Spirit flies from most frequently are

Fort Lauderdale(FLL); Orlando, Florida (Orlando(MCO)); Las

Vegas(LNV); Los Angeles(LAX); the New York City, New York

metropolitan area (including LGA and EWR); and San Juan, Puerto

Rico (San Juan(SJU)).    On the 73 nonstop routes on which JetBlue

and Spirit currently overlap, the most common cities to fly out

of are Miami/Fort Lauderdale, Orlando, San Juan, Boston, and New

York City.

              1. Orlando, Florida – Orlando(MCO) and Sanford(SFB)

     There are two airports in the greater Orlando area:

Orlando(MCO) and Sanford(SFB).     Sanford(SFB), a secondary

airport to Orlando(MCO), is located approximately thirty to

forty-five minutes away by ground transportation from MCO and

about thirty to forty-five minutes away from the theme parks in

Orlando.   Orlando(MCO) is a competitive and fragmented market;

no airline has a more than 21% share, and approximately seven

airlines are at or above a 10% share.      Orlando(MCO) is not slot


                                  [26]
    Case 1:23-cv-10511-WGY Document 461 Filed 01/16/24 Page 30 of 113



or gate constrained.26   It recently opened a new terminal and is

in the process of constructing even more gates.

     Low-cost carriers like Spirit, Frontier, Avianca, WestJet,

Volaris, Norse, Lynx, Swoop and Avelo have increased passenger

service volumes at Orlando(MCO) in the last few years.         Avelo,

for example, operates a “base” in Orlando(MCO), meaning that it

parks its aircraft and employs essential personnel at the

airport.   Frontier also has a base at Orlando(MCO).        Frontier

has a 14% revenue share in Orlando(MCO) and operates at least 44

routes out of Orlando(MCO).     As of June 2023, Frontier served

more destinations than any other airline at Orlando(MCO).

Breeze initiated service at Orlando(MCO) in 2022, flying just

one route, and in 2023 flies nine routes.       Allegiant flies out

of Sanford(SFB) and recently announced that it would be offering

service to and from Orlando(MCO).

              2. San Juan, Puerto Rico - San Juan(SJU)

     In San Juan, Puerto Rico, there are no constraints on entry

at Luis Muñoz Marin International Airport(SJU).        San Juan is a

fragmented and competitive market; six competitors have a




     26“Slots” are specific day and time authorizations during
which certain airports and the FAA grant permission to an
airline to take off or land a flight. Slots can be sold or
leased by the carriers holding the rights to them. It is
possible to operate to some extent at an airport without
obtaining slots, but only during limited (and often unappealing)
time periods.

                                  [27]
    Case 1:23-cv-10511-WGY Document 461 Filed 01/16/24 Page 31 of 113



roughly 10% share.    Several ULCCs have entered or expanded their

presence in San Juan in recent years.      Frontier, for instance,

has had “no issues growing in San Juan.”       Tr. 11/14/23 (Barry

Biffle/Frontier) 97:18–24.     Indeed, Frontier has made San Juan a

focus city, offering 15 routes to and from the metro area --

more than any other airline.     Avelo currently flies from two

destinations to San Juan, Puerto Rico and is evaluating

opportunities to expand the routes it flies to San Juan.

Allegiant previously operated routes out of Puerto Rico and

would consider returning to Puerto Rico if it were to become

profitable.

                3. Miami/Fort Lauderdale – Miami(MIA) and Fort
                   Lauderdale(FLL)

     There are two major airports in the greater Miami/Fort

Lauderdale area (referred to as “South Florida” throughout

trial): Miami(MIA) and Fort Lauderdale(FLL).        Miami(MIA) is not

constrained and has an ongoing construction project that, when

completed, will allow for “11 gates’ worth of growth potential.”

Tr. 11/8/23 (John Kirby/Spirit) 96:8–13.

     At Fort Lauderdale(FLL), there are minimal constraints for

new entrants.    Broward County Aviation Department (“BCAD”), the

controlling airport authority at FLL, has a plan (“Master Plan”)

to expand the airport.    The Master Plan includes the addition of

29 gates -- for a total of 95 gates -- over the course of a



                                  [28]
    Case 1:23-cv-10511-WGY Document 461 Filed 01/16/24 Page 32 of 113



number of years, to ensure the airport can accommodate future

demand.   Fort Lauderdale(FLL) currently has enough gates to meet

demand, but demand is projected to increase past beyond the

airport’s current capacity of 66 gates.       Phase 1 of the Master

Plan will add 11 gates.    The initial part of Phase 1 is to add

Terminal 5, and it is already underway.       Since 2016, BCAD has

been able to accommodate every new entrant carrier that has

requested access to FLL.

     BCAD regularly solicits ULCCs to begin or expand service at

FLL, with five domestic LCCs or ULCCs currently providing

service at the airport.    Indeed, Frontier’s “largest operation,”

with well over “80 routes collectively,” is in Florida,

approximately 19 of which fly from Miami(MIA) or Fort

Lauderdale(FLL).   See Tr. 11/14/23 (Barry Biffle/Frontier)

97:13–17, 98:24–99:4.    Allegiant also has established operations

at Fort Lauderdale(FLL), operating three gates at the airport.

Fort Lauderdale(FLL) has also been able to accommodate the

entrance of four new international carriers, El Al from Israel,

Flair from Canada, Porter Airlines from Canada, and Bermuda Air

from Bermuda.

     BCAD’s lease agreements include a “use-it-or-lose-it”

provision that allows BCAD to recapture preferential-use gates

if “the airline[] is not meeting the stated demand or the

utilization of that particular gate.”      Tr. 11/15/23 (Mark


                                  [29]
    Case 1:23-cv-10511-WGY Document 461 Filed 01/16/24 Page 33 of 113



Gale/BCAD) 76:4–12.    This policy is applied on an aggregate, not

route-by-route level: if a carrier “has 10 preferential-use

gates and after [BCAD] run[s] the formula at the year end and

they only qualify for 9, [BCAD] would look to recapture one of

those gates, and . . . , because of their shifting of their

international traffic, [BCAD] would look to, more likely than

not, recapture one of the international-capable gates.”         Id. at

77:20–78:8.   Accordingly, the minimum use requirement operates

to remove barriers on capacity by ensuring turnover of

underutilized gates to other airlines -- unlike at other

airports, carriers flying out of Fort Lauderdale(FLL) cannot

take a loss of revenue in order to keep control of their gates.

              4. New York City - LaGuardia(LGA) and Newark(EWR)

     Both LaGuardia and Newark are slot- and gate-constrained

airports.

              5. Boston, Massachusetts - Boston(BOS)

     While Boston(BOS) has some infrastructure constraints,

Spirit has been able to grow and secure additional gates.          Other

ULCCs, such as Allegiant and Sun Country, have similarly

“tak[en] advantage of common use capacity to grow in Boston.”

Tr. 11/8/23 (John Kirby/Spirit) 97:2–3.

       D. The Merger Agreement

     In the summer of 2021, Spirit’s and Frontier’s respective

management teams became involved in negotiations which


                                  [30]
    Case 1:23-cv-10511-WGY Document 461 Filed 01/16/24 Page 34 of 113



culminated in a merger agreement signed on February 5, 2022, and

publicly announced on February 7, 2022.       Spirit’s Board of

Directors and Chief Executive Officer, Ted Christie, supported

the proposed transaction with Frontier in February 2022.         After

learning about Frontier’s bid to acquire Spirit, JetBlue CEO

Robin Hayes had discussions with JetBlue’s Board of Directors,

as well as Mr. Christie, about making a competing bid for

Spirit.

     On March 29, 2022, JetBlue submitted a proposal to acquire

Spirit, offering Spirit shareholders a cash bid of $33 per

share, amounting to $3,600,000,000.      JetBlue indicated in its

March 29, 2022, offer letter a willingness to agree to a reverse

break-up fee payable to Spirit if an acquisition by JetBlue were

not consummated for antitrust reasons, but JetBlue did not

propose a dollar figure for that fee.      In April 2022, Spirit

conveyed to JetBlue that it was concerned that JetBlue’s

Northeast Alliance with American Airlines could impede the

regulatory process for a potential merger between JetBlue and

Spirit, and requested additional protections for Spirit

shareholders including a reverse termination fee.        Toward the

end of April 2022, before Spirit publicly responded to the March

29 offer, JetBlue sent Spirit a revised acquisition offer.          This

revised offer included a reverse break-up fee of $200,000,000,

representing the amount JetBlue would pay Spirit’s shareholders


                                  [31]
    Case 1:23-cv-10511-WGY Document 461 Filed 01/16/24 Page 35 of 113



if the contemplated deal ultimately did not pass regulatory

scrutiny.

     Spirit first determined that it was “reasonably likely that

[JetBlue’s offer] could lead to a superior proposal” to

Frontier’s offer, and with the assistance of Barclays and Morgan

Stanley as financial advisors, Spirit began evaluating JetBlue’s

proposed acquisition.    Tr. 10/31/23 (Edward Christie/Spirit)

118:8–119:7.   On May 2, 2022, however, Spirit’s Board of

Directors unanimously rejected JetBlue’s revised proposal to

purchase Spirit for $33 per share.       On that same day, Spirit

issued a press release attaching a letter from Mr. Christie and

H. McIntyre Gardner, the Chairman of Spirit’s Board, to Mr.

Hayes, setting forth Spirit’s concerns about a JetBlue

acquisition of Spirit.    Shortly thereafter, on May 5, 2022,

Spirit held an earnings call and filed with the SEC a related

presentation titled “Rejected Proposal from JetBlue Is Illusory

and Not Superior”.

     On May 16, 2022, JetBlue responded to the Spirit Board of

Directors’ rejection of its proposal by going directly to

Spirit’s shareholders with a tender offer to buy outstanding

Spirit shares.   Spirit’s Board continued to oppose an

acquisition by JetBlue and to support the proposed transaction

with Frontier.




                                  [32]
    Case 1:23-cv-10511-WGY Document 461 Filed 01/16/24 Page 36 of 113



     Throughout June 2022, JetBlue made a series of revised

offers to acquire Spirit, with increases in per-share price,

increases in the reverse termination fee, and commitments to

divestitures.   Spirit continued to resist, citing continued

concerns about the anticompetitive nature of such an

acquisition.    On June 6, 2022, Mr. Christie received an email

from Mr. Hayes with an attached new, revised offer for Spirit

Airlines.   On June 27, 2022, JetBlue made a further amended

offer to purchase Spirit; the Spirit Board did not view this

amended offer as better and did not accept it.        Instead, Spirit

issued another press release on June 28, 2022, reaffirming its

commitment to the transaction with Frontier and noting that the

“[l]atest offer from JetBlue does nothing to address our Board’s

serious concerns that a combination with [JetBlue] would not

receive regulatory approval.”     Tr. Ex. 93 at 998.

     As late as July 12, 2022, Spirit’s Board was still

unanimously in favor of the Frontier-Spirit transaction.

Nevertheless, seeing the direction its shareholders were likely

to vote, Spirit chose to resume negotiations with JetBlue on a

potential acquisition of Spirit,27 and on July 27, 2022, Spirit




     27In light of Spirit management’s desire for additional
information on the nature of the proposed divestitures, JetBlue
and Spirit engaged in discussions with respect to regulatory
matters, and Spirit’s management eventually became comfortable
that it “did in fact have a significant covenant” and that it

                                  [33]
    Case 1:23-cv-10511-WGY Document 461 Filed 01/16/24 Page 37 of 113



and Frontier terminated their merger agreement.        This was done

before Spirit shareholders could participate in a much-delayed

final vote on the deal.    By then, however, it was clear Spirit

shareholders would not vote in favor of the Frontier-Spirit

agreement.

     On July 28, 2022, JetBlue and Spirit entered into the

merger agreement at issue here (“merger agreement” or

“acquisition agreement”).     The final per-share price JetBlue

agreed to pay for Spirit represented a more than 50-percent

premium over the trading price of Spirit’s shares just before

the Frontier bid.    The proposed merger cost totals approximately

$3,800,000,000.   JetBlue will pay Spirit’s shareholders $33.50

per share in cash.

     If the proposed acquisition is not consummated by or before

December 2023, the amount JetBlue will pay Spirit shareholders

will increase over time to an ultimate $34.15 per share, so long

as the proposed acquisition is consummated by July 24, 2024.            At

the time of the trial, Spirit shareholders had already received

a $2.50-per-share prepayment in cash upon their approval of the

proposed acquisition.    Since January 2023, Spirit shareholders




“had satisfied [Spirit’s] concerns with regard to the regulatory
matters.” Tr. 11/1/23 (Edward Christie/Spirit) 81:6–82:22.

                                  [34]
    Case 1:23-cv-10511-WGY Document 461 Filed 01/16/24 Page 38 of 113



have also received payment in the form of a $0.10-per-month

ticking fee, which will continue until closing.28

     The acquisition agreement contains a combined reverse

break-up fee (a combination of both the fee paid to Spirit and

to its shareholders) of $470,000,000.      The reverse break-up fee

compensates Spirit shareholders if the proposed acquisition is

not consummated for antitrust reasons.       The acquisition

agreement includes a retention program, which uses monetary

awards to incentivize Spirit management to remain at the company

through the course of the transaction-review process.         The

retention program covers senior executives as well as other

persons deemed critical to the management team.        Mr. Christie

expects to receive over $1,000,000 in additional payments

through the retention program if he remains employed at Spirit

through the closing of the proposed acquisition.        Other Spirit




     28A “ticking fee” is an “increase in the per-share cash
consideration payable to seller stockholders as the time period
between signing and closing passes certain milestones. Classic
ticking fees are flexible devices that can be tailored to the
specific circumstances at hand—for example, the increase can
start at signing, at a later specified date or upon the
occurrence (or non-occurrence) of a specified event. Similarly,
the amount can go up on a straight line basis over the course of
the relevant period or can be structured to fluctuate over time
as certain dead-lines are passed or events occur.” Daniel Wolf,
Time is Money-Ticking Fees, Harvard L. Sch. F. on Corp.
Governance (Oct. 18, 2013),
https://corpgov.law.harvard.edu/2013/10/18/time-is-money-
ticking-fees/.

                                  [35]
    Case 1:23-cv-10511-WGY Document 461 Filed 01/16/24 Page 39 of 113



executives also have bonus agreements through the retention

program, including many who testified at trial.

       E. The Divestitures Offered

     Divestitures have historically been used in airline

industry mergers to address competitive concerns raised by the

Government.   JetBlue itself has been the beneficiary of prior

DOJ-mandated divestitures.     For instance, when American and U.S.

Airways merged, JetBlue acquired a number of slot pairs at

Ronald Reagan International Airport (“Reagan(DCA)”) that allowed

it to expand its service to Washington, D.C.        JetBlue also

acquired slots at LaGuardia(LGA) as a result of a slot swap by

Delta and U.S. Airways.    In order to attempt to obtain

regulatory approval for the proposed merger here, JetBlue has

agreed with Spirit to make robust divestitures.        Under its

agreement with Spirit, JetBlue is required to divest assets of

JetBlue and Spirit up to a material adverse effect on the

potential combined JetBlue and Spirit airline.

     In addition to this broad commitment, JetBlue specifically

agreed to certain proactive divestiture commitments (the

“Divestiture Agreements”) of select assets in Boston, the New

York metropolitan area, and Fort Lauderdale.        Frontier, another

ULCC, agreed to acquire Spirit’s 22 slots, 6 gates, and the

associated ground facilities at LaGuardia(LGA).        Allegiant, yet

another ULCC, agreed to acquire (1) Spirit’s 2 gates and the


                                  [36]
    Case 1:23-cv-10511-WGY Document 461 Filed 01/16/24 Page 40 of 113



associated ground facilities at Boston(BOS); (2) Spirit’s 43

runway authorizations, 2 gates, and the associated ground

facilities at Newark(EWR);29 and, (3) 5 of JetBlue’s gates and

the associated ground facilities at Fort Lauderdale(FLL).

     The transfer of the divestiture assets is subject to

approval by the local airport authorities.       Historically, these

authorities have approved divestitures associated with airline

mergers and other transactions; such approval, however, has not

yet been obtained and is not guaranteed.       For Fort

Lauderdale(FLL), in particular, the BCAD, the actual owner of

the gates, will not consent to JetBlue’s request to transfer or

sublease the gates to Allegiant, per BCAD’s current policy and

agreement with the FAA.    Rather, under both BCAD’s Competition

Plan and agreement with the FAA, after JetBlue relinquishes the

gates and other FLL assets to BCAD, the availability of the

gates will be advertised for any interested airline “so that

other potential airlines that might have an interest in serving

[Fort Lauderdale(FLL)] would be aware of those gates.”         Tr.

11/15/23 (Mark Gale/BCAD) 58:2–10.       Mark Gale, the CEO and

Director of Aviation at BCAD, acknowledged that the gates could




     29Runway authorizations are a specific type of takeoff and
landing control, similar to a slot, that is used at Newark(EWR)
to limit the amount of aircraft flying in and out of the airport
at any specific time of day.

                                  [37]
    Case 1:23-cv-10511-WGY Document 461 Filed 01/16/24 Page 41 of 113



be awarded to a legacy carrier such as American, Delta, or

United, instead of Allegiant or another ULCC.

     The Divestiture Agreements do not include a commitment to

replace Spirit’s capacity on all routes that it would stop

serving should the merger be consummated, nor does it require

Frontier or Allegiant to maintain a particular level of service

from the divestiture airports.30     The Divestiture Agreements also

only pertain to airport-level assets; through the agreements,

Allegiant and Frontier are not provided with, for example,

additional aircraft or pilots to use on their new routes.

              1. Divestitures to Allegiant

     As just stated, under the Divestiture Agreements Allegiant

would acquire (1) Spirit’s 2 gates and the associated ground

facilities at Boston(BOS); (2) Spirit’s 43 runway

authorizations, 2 gates, and the associated ground facilities at

Newark(EWR); and (3) 5 of JetBlue’s gates and the associated

ground facilities at Fort Lauderdale(FLL).       With the divestiture

assets at Fort Lauderdale(FLL), Allegiant would more than double

its presence at the airport.     At Newark(EWR), the runway

authorizations, in particular, would provide Allegiant with the




     30Each airline executive questioned about this possibility
bristled at such an idea; for a divestiture agreement to require
an airline only to utilize certain routes or timelines would be
deeply out of pace with the fast-changing dynamics of the
industry.

                                  [38]
    Case 1:23-cv-10511-WGY Document 461 Filed 01/16/24 Page 42 of 113



ability not only to access a highly constrained airport, but

also expand its presence on preferred flight times.         Finally,

Allegiant’s divestiture acquisitions at Boston(BOS) would

provide the airline with gates it has previously failed to

obtain.

        Allegiant, as a planned recipient of some divestitures, has

acknowledged that it may not be able to use all of the

divestitures to their fullest capacity, particularly right away.

First, Allegiant might not be able to use all of the runway

authorizations it is attempting to acquire at Newark because

some of “the earliest time slots are a challenge” for Allegiant,

which does not currently have aircraft or crew based in Newark.

(Drew Wells/Allegiant) Tr. 11/14/23 145-12-19.        Second,

Allegiant does not currently fly internationally or to Puerto

Rico.    Spirit currently serves international destinations out of

Fort Lauderdale(FLL) and serves destinations in Puerto Rico out

of Fort Lauderdale(FLL), Newark(EWR), and Boston(BOS).

Allegiant’s business model is not, as of now, equipped to

replace these routes, but it plans to add international service

and has an “application out to do so” through a joint venture

with VivaAerobus in Mexico.     Tr. 11/14/23 (Drew Wells/Allegiant)

134:19–135:8.    Allegiant currently “believe[s it] can be selling

within probably 30 days with about a 3-month window to begin

operations” in international markets.      Tr. 11/15/23 (Drew


                                  [39]
    Case 1:23-cv-10511-WGY Document 461 Filed 01/16/24 Page 43 of 113



Wells/Allegiant) 24:12–22.     Finally, Allegiant’s business model

generally focuses on unserved or underserved markets, with less

overlap with other airlines, unlike Spirit, which competes

directly on routes with legacy airlines and low-cost carriers.

              2. Divestitures to Frontier

     Frontier and JetBlue have entered into a binding

divestiture agreement that provides Frontier with six gates and

22 slot-pairs at LaGuardia(LGA).      These assets are “[e]xtremely

valuable,” both because of the slot constraints at

LaGuardia(LGA) and because the assets are located in the Marine

Air Terminal, which allows the recipient to “keep [its] costs

down.”   Tr. 11/8/23 (John Kirby/Spirit) 101:13–102:6.        Frontier

envisions using the assets to “probably first” “fill Spirit’s

former routes out of New York.”      Tr. 11/14/23 (Barry

Biffle/Frontier) 104:3–7, 105:18–23.      At trial, a Frontier

executive testified that the airline would not “have to pull

from existing flying” to utilize the LGA divested assets due to

Frontier’s expansive order book.      Tr. 11/14/23 (Barry

Biffle/Frontier) 87:7–9 (Frontier will have “50 airplanes, brand

new airplanes delivered at the time.      So [we] don’t have to pull

from existing flying to do that.”); see also id. at 96:8–14

(explaining Frontier has “the aircraft to chase” Spirit’s routes

post-merger while serving existing routes).




                                  [40]
    Case 1:23-cv-10511-WGY Document 461 Filed 01/16/24 Page 44 of 113



     Concerns also exist, however, regarding Frontier’s ability

to use its proposed divestitures at LaGuardia(LGA) to their full

potential.   Spirit flies more frequently than Frontier, on

average, with two to three more average flights per day in New

York City alone.

       F. The Potential Effects of the Proposed Merger

              1. Decreased Airline Seats

     As the proposed merger stands, JetBlue would acquire, and

thereby eliminate, Spirit from the market.       Although Spirit’s

yellow aircraft livery would not immediately be repainted as

JetBlue planes, at the moment the merger is consummated, Spirit

and JetBlue would no longer be competitors.       Instead, JetBlue

would have the ability and incentive to reconfigure Spirit

pricing and network planning to support JetBlue’s profitability.

At trial, JetBlue executives testified that “nothing is going to

change on Day 1,” but rather the Defendant Airlines would still

“be operating as two separate entities.”       Tr. 11/17/23 (Ursula

Hurley/JetBlue) 14:15–20.     That might be true for the customer

experience, as airline websites and plane configurations would

not change immediately.    In reality, however, Spirit pricing and

route decisions are immediately likely to shift.

     As for those more obvious changes, JetBlue estimates that

the process of retrofitting Spirit aircraft to JetBlue

specifications would take between four and five years to


                                  [41]
    Case 1:23-cv-10511-WGY Document 461 Filed 01/16/24 Page 45 of 113



complete.   As the JetBlue aircraft configuration involves less

seats per plane, total seat reductions across Spirit’s fleet are

estimated to total 11%.    JetBlue will not, however, begin the

retrofit process until after it obtains a Single Operating

Certificate from the FAA.31    JetBlue estimates that each aircraft

would take approximately 30-35 days to retrofit.        Given the

regulatory requirements and the amount of time needed to

reconfigure the Spirit aircraft to JetBlue’s specifications,

there would not be any seat reductions until at least early

2025, with reconfigurations complete no earlier than 2029.

     JetBlue argues that after the merger it will have the

ability and incentive to increase utilization of its aircraft to

offset this seat reduction.     This could be done by upgauging the

Spirit aircraft,32 increasing aircraft utilization through more

flights per day, reducing seasonal changes in flight schedules,




     31 A Single Operating Certificate is a mandatory safety-
related FAA regulatory clearance only received after the FAA
undergoes an in-depth examination of an airline’s operation.
This examination is designed to ensure an effective transition
of the merged entities and that one set of management personnel
is in place with operational control of the entire new
organization. See How Does That Work? The FAA’s Safety Role in
Airline Mergers, FAA,
https://www.faa.gov/sites/faa.gov/files/2022-07/Airline-Merger-
Fact-Sheet_0.pdf (last visited Dec. 29, 2023). JetBlue
estimates receiving a Single Operating Certificate 12-18 months
after the merger closes.
     32 “Upgauging” is the process by which an airline increases

seats per departure by acquiring and flying larger aircraft on
domestic routes.

                                  [42]
    Case 1:23-cv-10511-WGY Document 461 Filed 01/16/24 Page 46 of 113



and adding additional red-eye flights.       Some of these changes

are likely, as JetBlue’s strategy regarding seasonality results

in more flights than Spirit’s current strategy, and it is likely

JetBlue would increase Spirit’s seasonal offerings to match

those of the JetBlue fleet.     There is no credible evidence –-

rather only speculation -- that JetBlue has any plans to

implement the other options, such as increased redeye flights

and upgauging.   Once the reconfiguration of Spirit’s aircraft is

complete, annual seat departures will decrease by more than

6,100,000.

              2. Increased Concentration

     The Defendant Airlines already have high combined market

shares in numerous markets.     As measured by metropolitan area,

JetBlue and Spirit have 99 nonstop overlap routes; between 30%

and 40% of JetBlue and Spirit’s nonstop routes overlap.         The

Government argues that due to the increase in concentration that

would occur should the merger be allowed, JetBlue’s market power

would increase past a “presumptively anticompetitive” threshold

on 183 passenger routes, including 51 nonstop overlap routes

that both JetBlue and Spirit serve.33      Among these 183 routes the



     33A merger or an acquisition that produces certain changes
in concentration and ultimately results in concentration levels
above a certain threshold is presumed likely to enhance market
power. This threshold is measured in post-transaction “HHI”
(amount on the Herfindahl-Hirschman Index) greater than 2,500; a
transaction resulting in change of HHI greater than 200 in a

                                  [43]
    Case 1:23-cv-10511-WGY Document 461 Filed 01/16/24 Page 47 of 113



Government identifies, the post-merger HHI would be greater than

1,500, with a change in HHI of at least 200.        Overall, the

Government asserts that there are 562 routes that will suffer

harm due to the proposed transaction.      These routes fall into

six categories: (1) “Spirit-only” routes, (2) “Spirit-entry”

routes, (3) “econometric” routes, (4) connect routes, (5) mixed

routes, and (6) nonstop overlap routes.

                   a. “Spirit-Only” Routes

     The Government identifies 115 Spirit-only routes.         A

Spirit-only route is a route on which “Spirit is present and

JetBlue is not,” meaning there is no current competition between

JetBlue and Spirit. Tr. 11/27/23 (Dr. Nicholas Hill) 57:23 –

58:1-7.   The Government does not assert a structural presumption

on the 115 Spirit-only routes, and does not assert, nor could

it, that the merger would result in any loss of head-to-head

competition on these routes.

                   b. “Spirit-Entry” Routes




highly concentrated market is also considered presumptively
anticompetitive. HHI is “a commonly accepted measure of market
concentration. The HHI is calculated by squaring the market
share of each firm competing in the market and then summing the
resulting numbers. For example, for a market consisting of four
firms with shares of 30, 30, 20, and 20 percent, the HHI is
2,600 (302 + 302 + 202 + 202 = 2,600).” See Herfindahl-Hirschman
Index, U.S. Dep’t of Just., Antitrust Div.,
https://www.justice.gov/atr/herfindahl-hirschman-index (last
visited Dec. 29, 2023).

                                  [44]
    Case 1:23-cv-10511-WGY Document 461 Filed 01/16/24 Page 48 of 113



        The Government identifies 168 Spirit-entry routes; as of

November 2023, JetBlue was present on 23 of these 168.         A

Spirit-entry route is “a route that Spirit planned to enter [by

2027] according to its 2027 network plan” but that is not

currently served by Spirit.     Tr. (Dr. Nicholas Hill) 63:10-24.

Again, the Government does not assert a structural presumption

on the Spirit-entry routes.     Given its financial condition and

other headwinds, it is highly unlikely that Spirit would be able

to enter all of the 168 routes identified in its 2027 network

plan.

                    c. “Econometric” Routes

        The Government asserts 96 “econometric” routes, which it

defines as a nonstop overlap route on which the Government does

not assert a structural presumption but does anticipate a

significant reduction in competition.      Primarily, such harm is

anticipated due to the substitution of JetBlue’s aircraft

configuration for Spirit’s aircraft configuration, not from a

loss of head-to-head competition.

                    d. Connect Routes

        The Government also asserts 117 connect routes, which it

defines as a route on which both JetBlue and Spirit serve on a

connecting, but not nonstop, basis.      JetBlue and Spirit

typically set fares for connect flights by summing the fares for

the individual nonstop legs.     This method of setting fares is


                                  [45]
    Case 1:23-cv-10511-WGY Document 461 Filed 01/16/24 Page 49 of 113



known as “sum-of-locals” pricing.        On all 117 connect routes at

issue, at least half of the ticket fares are set using sum of

locals pricing; on the vast majority of the 117 connect routes

(84%), either JetBlue or Spirit prices at least 80% of their

fares using sum-of-locals pricing.       Sum-of-locals pricing on

connect routes is “driven by underlying routes” and “not

primarily [] driven by competition between connect carriers or

nonstop carriers,” as that pricing structure simply adds

together fares from two otherwise unrelated nonstop routes.             Tr.

11/27/23 (Dr. Nicholas Hill) 69:3–10.       Many of the connect

routes are also not a competitive focus for JetBlue and Spirit

because they have low total passenger volume each year; seventy-

five of the 117 routes have fewer than 5,000 passengers a year

across all carriers.    Given their predominantly sum-of-locals

pricing and low passenger volume, JetBlue and Spirit do not

meaningfully compete on the Government’s 117 connect routes, and

thus these routes are unlikely to see a substantial lessening of

competition.

                   e. Mixed Routes

     The Government identifies 15 “mixed” routes, which it

defines as a route on which either JetBlue or Spirit provides

nonstop service while the other carrier provides connecting

service.   On each of the 15 mixed routes, the connect carrier --

either JetBlue or Spirit -- serves less than 10% of total


                                  [46]
    Case 1:23-cv-10511-WGY Document 461 Filed 01/16/24 Page 50 of 113



passengers.   As explained above, when operating as the connect

carrier, JetBlue and Spirit set most fares on these routes using

sum-of-locals pricing.    Accordingly, on the mixed routes where

either JetBlue or Spirit flies a connecting itinerary, the

connect carrier typically does not set its fares based on

competition with the nonstop carriers.       Further, on mixed routes

for which the connect fare is significantly higher than the

nonstop fare, it is unlikely that the connect fare was set with

respect to the nonstop carriers’ fares.       On these 15 mixed

routes, when Spirit is the connect carrier, a high percentage of

its passengers pay a sum-of-local fare, meaning Spirit sets the

fare based on the competition of the underlying individual

routes rather than the connect route itself.        On the mixed

routes where JetBlue is the connect carrier, JetBlue “is

charging a significantly higher fare than the nonstop carrier,

which is a sign there’s unlikely to be substantial competition

[] between the connect carrier and the nonstop carrier.”          Tr.

11/27/23 (Dr. Nicholas Hill) 74:7–17.

                   f. Nonstop Overlap Routes

     Finally, the Government identifies 51 nonstop overlap

routes, which are the most potent of those it challenges.          These

routes are identified as those on which both Defendant Airlines

offered nonstop service between Q3 2021 and Q2 2022.         As

previously stated, the Government asserts that a structural


                                  [47]
    Case 1:23-cv-10511-WGY Document 461 Filed 01/16/24 Page 51 of 113



presumption applies to these routes.      Since Q2 2022, Spirit and

JetBlue have exited a combined 14 of the Government’s 51 nonstop

“presumption” routes (i.e., nearly 30%).34      The Government and

the Defendant Airlines agree that those routes where a Defendant

Airline has exited are no longer facing harm should the merger

occur.

     Consistent with the frequency of exit, entry, and expansion

in the airline industry, many of the nonstop “presumption”

routes have experienced exit, entry, or expansion by the parties

or other carriers since Q2 2022.      Thirty-five of the 51 nonstop

“presumption” routes on which the Government relies have either

been exited by at least one party or have experienced an entry

or addition in service by another carrier during or after this

time period.    Both Frontier and Allegiant already operate on one

or both endpoints of all 51 nonstop overlap routes identified by

the Government, and both carriers currently serve over 20 of

these routes.   In addition, 36 of the 51 nonstop presumption

routes involve an endpoint at which JetBlue has proposed

divestitures of assets.    Of the 15 remaining routes that do not

involve a divestiture endpoint, four are no longer nonstop


     34Spirit has exited Fort Myers-Hartford, Boston-New
Orleans, LaGuardia-San Juan, Hartford-Tampa, New York City-
Tampa, New Orleans-New York City, Austin-Cancun, Orlando-Ponce,
Orlando-Aguadilla, and Miami-Aguadilla. JetBlue has exited
Cleveland-Miami, Aruba-Miami, Cartagena-Miami, Philadelphia-San
Juan, Austin-Cancun, and Miami-St. Maarten.

                                  [48]
    Case 1:23-cv-10511-WGY Document 461 Filed 01/16/24 Page 52 of 113



overlap routes because either Spirit or JetBlue exited in the

normal course of business.     On the remaining 11 routes that do

not involve a divestiture endpoint and where exit has not

occurred -- across which Spirit only has approximately 25 total

departures per day -- there are ULCCs and LCCs that are either

already present or have substantial presence at one or both

endpoints of each of the 11 routes.

                3. Increased Debt for JetBlue

        Should the merger be consummated, JetBlue would also take

on significant debt.    JetBlue has, historically, managed its

debt and liquidity levels very conservatively, and it

historically targeted a debt-to-capital (“debt-to-cap”) ratio of

30% to 40%.    This conservatism has enabled JetBlue to borrow and

raise money and to secure better financing terms for new

aircraft acquisitions.    JetBlue’s debt-to-cap ratio has

increased recently, however, rising to approximately 50% in

2022.    Without the proposed merger, in 2022, JetBlue planned to

reduce its debt-to-cap ratio closer to its historical targets:

about 44% in 2023, 40% by 2024, and roughly 30% from 2025 to

2027.    If the proposed acquisition is consummated, JetBlue’s

indebtedness will increase.     JetBlue’s current debt-to-cap ratio

stands at 56%, and, if the proposed acquisition proceeds,

JetBlue not only plans to raise about $3,500,000,000 in debt to

fund the acquisition of Spirit but will also take on Spirit’s


                                  [49]
    Case 1:23-cv-10511-WGY Document 461 Filed 01/16/24 Page 53 of 113



nearly $4,000,000,000 in debt.     As such, should the proposed

acquisition occur, JetBlue’s post-acquisition debt-to-cap ratio

will rise to between 83% and 111%.       This debt-to-cap ratio is

most similar to those of the legacy airlines.

              4. Increased Prices for Customers

     The proposed merger has the potential to increase prices

for customers in two ways: 1) with the elimination of Spirit

from the market, consumers would no longer have Spirit’s low

prices as an option; 2) with the elimination of Spirit from the

market, consumers would no longer benefit from Spirit’s downward

pressure on other airline’s prices.

                   a. Loss of Spirit’s Prices as an Option for
                      Consumers

     As discussed above, cost-conscious travelers are the core

of Spirit’s target market, and many such travelers would not be

able to fly with higher-priced fares.      JetBlue plans to convert

Spirit’s planes to the JetBlue layout and charge JetBlue’s

higher average fares to its customers.       The elimination of

Spirit would harm cost-conscious travelers who rely on Spirit’s

low fares.   Spirit has, since 2017, offered prices consistently

lower than JetBlue and the legacy airlines.

                   b. Loss of Spirit’s Discipline on Other
                      Airline’s Prices

     As Spirit has grown over the years, it has posed an

increasingly competitive threat to JetBlue and the Big Four


                                  [50]
    Case 1:23-cv-10511-WGY Document 461 Filed 01/16/24 Page 54 of 113



airlines, to the benefit of Spirit passengers and other

traveling consumers alike.     Consumers have benefitted both

directly from Spirit’s low prices and indirectly because

Spirit’s prices place downward pressure on JetBlue’s and other

airlines’ prices.   If the proposed acquisition proceeds, these

consumer benefits would not only disappear from Spirit’s

existing routes, but also not reach consumers in markets in

which Spirit planned to enter in the foreseeable future.

     First, consumers will lose the benefit they had received

from head-to-head competition between Spirit and JetBlue, as

JetBlue’s prices would rise after Spirit’s removal from the

market.   Many of Spirit and JetBlue’s overlap routes are to/from

Los Angeles, New York City, San Juan, and Boston, given Spirit’s

recent growth in these cities.     JetBlue and Spirit’s overlaps

have also increased significantly on routes touching Florida and

Latin America.    By October 2019, Spirit’s growing competitive

threat to JetBlue in markets between New York City and the

Caribbean was also “raising a red flag” within the JetBlue

Pricing Team.35   Tr. 11/1/2023 (David Clark/JetBlue) 134:15-

135:16.   The aggressive response of legacy airlines to Spirit’s

low fares compounds the pressure that Spirit puts on JetBlue.




     35Eventually, in late 2019, JetBlue began developing an
integrated strategy specifically to compete more effectively
with Spirit, titled the “Spirit Competitive Strategy.”

                                  [51]
    Case 1:23-cv-10511-WGY Document 461 Filed 01/16/24 Page 55 of 113



For example, in 2019, low ULCC fares led United Airlines to take

“aggressive” action in lowering its fares to protect its

markets, such as by filing “extraordinarily low” $29 walkup

fares from Newark to Santo Domingo.36       Tr. Ex. 644 at 461; Tr.

11/1/2023 (David Clark/JetBlue) 135:22-136:1.        Delta, in turn,

matched those $29 fares from JFK airport, and JetBlue, which

served the market from JFK, matched in turn and was

“unsuccessful[]” in raising those low fares.        Tr. Ex. 644 at

461; Tr. 11/1/2023 (David Clark/JetBlue) 136:10-20.         As a

result, JetBlue’s walkup fares were more than $100 lower than

before Spirit entered the market.        Overall, JetBlue has found

that, when Spirit enters a market in which JetBlue operates,

JetBlue’s fares and revenue decrease by more than 10%.         When

JetBlue lowers its fares to match Spirit’s, Spirit generally

lowers its fares even further.

     Spirit’s presence –- the Spirit Effect -- also lowers other

airline’s fares.   The record contains numerous examples of

Spirit undercutting and putting other pressure legacy airlines’

and other LCC’s fares.    When Spirit enters a market, its rivals

reduce their prices by between 7% and 11%, on average.37


     36 “Walkup fares” are fares with no advance purchase
restriction, called walkup because a customer could literally
walk up to the airline desk at the airport and buy a ticket at
this fare.
     37 The Government argues that the proposed acquisition would

also increase the risk of coordination. Such coordination can

                                  [52]
    Case 1:23-cv-10511-WGY Document 461 Filed 01/16/24 Page 56 of 113



       G. The Experts

     Each party presented the testimony of two experts: for the

Government, Dr. Gautam Gowrisankaran (“Dr. Gowrisankaran”) and

Dr. Tasneem Chipty (“Dr. Chipty”); and for the Defendant

Airlines, Dr. Nicholas Hill (“Dr. Hill”) and Mr. Richard Scheff

(“Mr. Scheff”).   Throughout the trial, the Court carefully

observed and assessed each witness, considering their

credibility generally and as to the specific matters about which

they testified.   The Court’s in-person evaluation of these

witnesses, as well as an evaluation of the substance of their

testimony and reports, influences the weight accorded to each.

              1. Dr. Gowrisankaran




arise in multiple ways, including parallel accommodating
conduct, resulting from a history of observing rivals’
reactions, or implicit agreements reached through signaling or
punishments. For example, an airline can accommodate one
airline’s price increase by increasing its own prices, and if a
third airline refuses to play along, one of the coordinating
airlines can punish that airline by reducing its prices on a
separate route, undercutting the uncooperative airline. As
airline pricing is largely transparent, airlines engage with one
another across many markets, and there are only a small number
of dominant competitors, the industry is vulnerable to
coordination. The Government points to four instances of such
alleged coordination by JetBlue in 2019 and 2020 that it argues
demonstrate the airline’s willingness to coordinate with other
airlines, hurting consumers (unlike Spirit, which tends to
disrupt coordination). Such evidence is unpersuasive, however,
particularly when combined with the testimony of multiple
JetBlue pricing employees who credibly testified that such
coordinating actions were against JetBlue policy.

                                  [53]
    Case 1:23-cv-10511-WGY Document 461 Filed 01/16/24 Page 57 of 113



     The Government’s primary expert was Dr. Gowrisankaran, a

Professor of Economics at Columbia University.        He received his

Ph.D. in Economics from Yale University, where his dissertation

was titled “A Dynamic Analysis of Mergers,” and specializes in

industrial organization, health and education, applied

econometrics,38 and energy economics.      Dr. Gowrisankaran’s

preparation included an examination of ordinary course documents

produced by the Defendant Airlines, industry participants’

testimony, and his own analyses.      Dr. Gowrisankaran provided the

market definition on which the Government bases its case.          He

also analyzed the competitive effects of the merger, including

by identifying the “harmed routes” upon which the Government

relies for anticompetitive effects, though he did not take into

account the effects of any divestitures proposed by the

Defendant Airlines.39

     Dr. Gowrisankaran’s testimony was thoughtful and credible,

and he was a well-credentialed witness who candidly responded to

questions from the Government, the Defendant Airlines, and the

Court.    He was also methodical and articulate in explaining his

analysis and the conclusions that he drew from it.        The

Defendant Airlines raise some limitations that exist in his




     38 Econometrics is the application of statistical methods to
economics.
     39 This analysis was left to Dr. Chipty.



                                  [54]
    Case 1:23-cv-10511-WGY Document 461 Filed 01/16/24 Page 58 of 113



analysis and their objections are correct; Dr. Gowrisankaran

failed to 1) group airports from the same metropolitan area for

the purpose of comparing routes, 2) update his analysis to

reflect changes in Spirit’s plans since 2022, 3) evaluate

whether other carriers, particularly ULCCs, would, post-merger,

enter any routes he identified as harmed, and 4) compare prices

of the same fare class against each other (for instance,

comparing specifically an unbundled “Blue Basic” fare with a

ULCC fare).   Overall, however, Dr. Gowrisankaran’s testimony was

useful to the Court in understanding the effects of the proposed

merger; the Court finds that his opinions are entitled to

significant weight.

              2. Dr. Chipty

     Dr. Tanseeem Chipty is the founder and managing principal

of Chipty Economics, where she provides expertise in industrial

organization, antitrust economics, and econometrics.         Dr. Chipty

received her Ph.D. in Economics from the Massachusetts Institute

of Technology.   Dr. Chipty examined the Defendant Airlines’

current networks and standalone growth plans, the current

networks and standalone growth plans of the divestiture buyers

and other ULCCs, JetBlue’s combined network plan for the firm

post-merger, JetBlue’s deal modeling, and the deposition

testimony of multiple industry participants.        Dr. Chipty

analyzed whether entry of other airlines into the harmed routes


                                  [55]
    Case 1:23-cv-10511-WGY Document 461 Filed 01/16/24 Page 59 of 113



would be likely, timely, and sufficient to offset the

anticipated anticompetitive effects of the merger.        She also

analyzed whether JetBlue’s post-merger plans for the management

of the combined company’s assets suggest that the merger will

produce efficiencies that might enhance competition and create

benefits for consumers, thereby reversing the merger’s potential

harms.

     Though Dr. Chipty is also well-credentialed, her testimony

was less thorough or methodical than that of Dr. Gowrisankaran,

and her credibility suffered accordingly.       This was in large

part due to the questions the Government asked her to answer.

Much of Dr. Chipty’s testimony was a recital of evidence already

in the record and was thus notably lacking analysis.         It would

be a stretch to refer to such testimony as “expert.”         Instead,

her analysis was, in large part, a collection of inferences

derived from the evidence assembled for presentation to the

Court, oftentimes from JetBlue’s ordinary-course documents.             Dr.

Chipty’s calculations regarding the growth other airlines would

need to exhibit in order to backfill the removal of Spirit from

the market is, however, most useful to the Court and shall be

given its due weight.    The rest of her testimony lacks

evidentiary value, and therefore is entitled to no weight.

              3. Dr. Hill




                                  [56]
    Case 1:23-cv-10511-WGY Document 461 Filed 01/16/24 Page 60 of 113



     Dr. Nicholas Hill is a partner with Bates White Economic

Consulting, where he provides expertise in antitrust issues.            He

received his Ph.D. in Economics from Johns Hopkins University.

Dr. Hill has testified on behalf of the Department of Justice in

multiple antitrust cases, most recently in 2022.40        Dr. Hill was

the Defendant Airlines’ expert economist, and his testimony

mostly responded to that of Dr. Gowrisankaran.        Dr. Hill’s

charge was to evaluate the likely competitive effects of the

merger, and he examined data and documents produced through

discovery, legal filings, deposition transcripts, industry

research, and other publicly available data.

     Like Dr. Gowrisankaran, Dr. Hill was a well-credentialed,

credible, and thoughtful witness, who thoroughly and candidly

answered every question posed to him by the Government, the

Defendant Airlines, and the Court.       Perhaps unsurprisingly,

unlike Dr. Gowrisankaran, Dr. Hill’s analysis focused on the

national market,41 demonstrating how the proposed acquisition


     40 The Defendant Airlines were quick to highlight this fact,
likely due to the deficiencies found in other experts hired in a
previous antitrust litigation involving the airline industry,
where one of the Defendant Airlines was a party. See United
States v. American Airlines Grp. Inc., No. CV 21-11558-LTS, 2023
WL 3560430, at *23 (D. Mass. May 19, 2023) (Sorokin, J.) (“Based
on the combination of their historical ties to powerful airlines
and the manner in which they expressed their opinions from the
witness stand, the Court finds as a general matter that the
defense experts’ testimony . . . was tainted by bias.”).
     41 To be clear, Dr. Hill did not propose a national market

as the relevant market upon which the Court ought analyze the

                                  [57]
    Case 1:23-cv-10511-WGY Document 461 Filed 01/16/24 Page 61 of 113



would allow JetBlue to increase competition with the Big Four,

providing benefits to consumers.      Unlike Dr. Chipty, Dr. Hill

also found through his analysis that entry by other carriers is

likely to ameliorate any anticompetitive effects, should they

occur.   The Government argues that Dr. Hill’s opinions are

flawed, both because his model ignores nonstop overlap markets

in which JetBlue and Spirit currently compete and because Dr.

Hill did not do any significant quantitative analysis to

determine the ability of ULCCs to fulfill their standalone

network plans while also replacing the competition that would be

lost post-merger.   Dr. Hill also did not undertake any empirical

analysis to understand how much consumers value any of the

individual JetBlue product amenities (legroom, Wi-Fi,

refreshments, seatback screens, etc.), and his model assumed

that JetBlue would continue to fly its new, post-merger acquired

aircraft on the same routes Spirit flies today.        The Government

is correct that these limitations on Dr. Hill’s data exist; he

acknowledged them and was honest in his testimony about the

reasons for them.   Overall, however, Dr. Hill’s testimony and

report were useful to the Court in understanding the effects of




merger; instead, he focused on the aggregate of all routes the
Government alleged harms, as well as an analysis of the
competitive effects of the merger outside of JetBlue and
Spirit’s head-to-head competition.

                                  [58]
    Case 1:23-cv-10511-WGY Document 461 Filed 01/16/24 Page 62 of 113



this merger; the Court finds that his opinions are entitled to

significant weight.

                4. Mr. Scheff

        Finally, the Defendant Airlines’ second expert was Mr.

Richard Scheff.    Mr. Scheff is the Managing Director at Airline

Strategy Group, Inc., a strategic global airline consulting

firm.    Mr. Scheff has more than thirty years of experience in

the airline industry, working for both domestic and

international airlines.    His expertise is in network planning,

fleet planning, demand forecasting, and operations research.

Mr. Scheff holds a M.S. in Industrial Engineering from the

Georgia Institute of Technology.      In preparation, Mr. Scheff

reviewed both publicly available and proprietary airline data,

deposition testimony, discovery materials, and financial filings

from both JetBlue and Spirit.     Mr. Scheff was retained to

evaluate whether the combined, post-merger airline is likely to

have a higher utilization than JetBlue or Spirit has on a

standalone basis, and if so, to what extent will any such

increased utilization affect the output of the combined airline,

as measured by seats available for departure.

        Like Dr. Chipty, much of Mr. Scheff’s analysis and

testimony lacked credibility or usefulness for the Court.          Faced

with the decrease in seats guaranteed by the proposed

reconfiguration of Spirit aircraft, Mr. Scheff attempted to


                                  [59]
    Case 1:23-cv-10511-WGY Document 461 Filed 01/16/24 Page 63 of 113



calculate two utilization changes that he speculated the

combined airline would make, both of which might offset the harm

from the seat loss.    First, Mr. Scheff calculated how increasing

Spirit’s flying patterns to match those of JetBlue’s would

increase utilization.    Second, Mr. Scheff calculated how using

aircraft more efficiently, through “pooling”, would increase

utilization.   Mr. Scheff did not rely on any evidence that

JetBlue plans to implement either utilization changes (though,

as stated previously, increasing Spirit’s flying patterns to

match those of JetBlue’s current fleet is more likely than

others).   Mr. Scheff also suggested that the combined airline

would increase utilization by: 1) increasing route length for

larger aircraft, 2) reducing its number of operational spares,42

and 3) increasing redeye service.        Again, however, Mr. Scheff

did not rely on any support for these claims.        Although Mr.


     42Operational spares are aircraft that airlines keep in
reserve at base airports in case there is a mechanical issue
with an aircraft currently in use. Fact witnesses did testify
that with a combined fleet, a post-merger JetBlue would have
incentive to keep less operational spares than the standalone
JetBlue and Spirit because, instead of each airline separately
keeping spares ready, the combined airline could use fewer to
support more planes. This comports with the economic principle
of economies of scale; an airline with more planes would need
less spares per plane, because the risk that multiple planes
would need spares at once is likely low, the airline can spread
that risk across more planes. Mr. Scheff’s analysis, however,
simply speculates that a decrease in operational spares would
occur; he relies on no evidence to support that contention and
provides no specificity in the number of operational spares the
combined airline would keep.

                                  [60]
    Case 1:23-cv-10511-WGY Document 461 Filed 01/16/24 Page 64 of 113



Scheff’s analysis provides the Court with a potential plan for

JetBlue post-merger, because Mr. Scheff cannot cite any evidence

to support the likelihood of such plans, his testimony lacks

credibility, and therefore must be given no weight.

             H. The Litigation

        The Department of Justice, joined by the Plaintiff States,

filed this lawsuit on March 7, 2023.       See Compl., ECF No. 1.       An

amended complaint followed on March 31, 2023, adding more

Plaintiff States.       See Am. Compl., ECF No. 69.   The amended

complaint alleges that the proposed merger violates Section 15

of the Clayton Act, as amended, 15 U.S.C. § 25, and requests

that the Court restrain the Defendant Airlines from consummating

the merger.43       Less than a week later, the parties submitted a

joint proposal for case management, see Joint Mot. Entry Case

Management Order, ECF No. 77, which the Court adopted in its

entirety, see Scheduling Order, ECF No. 79.       Trial was

originally scheduled to begin on October 16, 2023.44

        Trial commenced on October 31, 2023 and ran for seventeen

days.        Twenty-two witnesses appeared and testified at trial.

The list included five executives of Spirit, eight executives



        The United States brings this action under Section 15 of
        43

the Clayton Act. The Plaintiff States bring this action under
Section 16 of the Clayton Act as parens patriae on behalf of
their residents.
     44 The Court, however, was forced to delay the start of

trial by two weeks due to other matters.

                                    [61]
    Case 1:23-cv-10511-WGY Document 461 Filed 01/16/24 Page 65 of 113



from JetBlue, executives from Avelo, Frontier, Allegiant, and

United, as well as the Chief Executive Officer of the BCAD and

the expert witnesses.    The parties supplemented their live

testimony with excerpts from depositions from a number of

additional witnesses.    Closing arguments occurred on December 5,

2023, and the parties submitted post-trial submissions on

December 13, 2023.

  III. CONCLUSIONS OF LAW45

          A. The Clayton Act

     Section 7 of the Clayton Act prohibits mergers and

acquisitions “where in any line of commerce or in any activity

affecting commerce in any section of the country, the effect of

such acquisition may be substantially to lessen competition.”

15 U.S.C. § 18.    The “fundamental purpose” of Section 7 is “to

arrest the trend toward concentration, the tendency to monopoly

-, before the consumer’s alternatives disappear[ ] through

merger ....”    United States v. Philadelphia Nat'l Bank, 374 U.S.

321, 367 (1963).    Congress therefore “sought to assure ... the

courts the power to brake this force at its outset and before it

gathered momentum.”    Brown Shoe Co. v. United States, 370 U.S.

294, 317–18 (1962).




     45Portions of both parties’ proposed conclusions of law are
adopted and incorporated herein; citations and quotations are
omitted for readability.

                                  [62]
    Case 1:23-cv-10511-WGY Document 461 Filed 01/16/24 Page 66 of 113



     “Congress used the words ‘may be substantially to lessen

competition’ ... to indicate that its concern was with

probabilities, not certainties.”      F.T.C. v. Hackensack Meridian

Health, Inc., 30 F.4th 160, 166 (3rd Cir. 2022) (quoting Brown

Shoe Co., 370 U.S. at 323).     “Section 7 does not require proof

that a merger or other acquisition has caused higher prices in

the affected market.    All that is necessary is that the merger

create an appreciable danger of such consequences in the

future.”   Saint Alphonsus Med. Ctr.-Nampa Inc., 778 F.3d at 788

(quoting Hospital Corp. of Am. v. F.T.C., 807 F.2d 1381, 1389

(7th Cir. 1986)).   Section 7's probabilistic standard “creates a

relatively expansive definition of antitrust liability” and

“subjects mergers to searching scrutiny.”       California v.

American Stores Co., 495 U.S. 271, 284-285 (1990).        Courts,

however, must judge the likelihood of anticompetitive effects in

the context of the “structure, history, and probable future” of

the particular markets that the merger will affect.         United

States v. General Dynamics Corp., 415 U.S. 486, 498 (1974)

(quoting Brown Shoe Co., 370 U.S. 294, 322 n.38 (1962)).

       B. Mode of Analysis

     In United States v. Baker Hughes, Inc., 908 F.2d 981, 982-

83 (D.C. Cir. 1990), the Court of Appeals for the District of

Columbia Circuit established a three-part, burden-shifting




                                  [63]
     Case 1:23-cv-10511-WGY Document 461 Filed 01/16/24 Page 67 of 113



framework for evaluating antitrust cases under Section 7 of the

Clayton Act.    As one court recently described the framework:

     Typically the [plaintiff] establishes a prima facie
     case by showing that the transaction in question will
     significantly increase market concentration, thereby
     creating a presumption that the transaction is likely
     to substantially lessen competition. Once the
     [plaintiff] establishes the prima facie case, the
     [defendant] may rebut it by producing evidence to cast
     doubt on the accuracy of the [plaintiff]'s evidence as
     predictive of future anti-competitive effects.
     Finally, if the [defendant] successfully rebuts the
     prima facie case, the burden of production shifts back
     to the [plaintiff] and merges with the ultimate burden
     of persuasion, which is incumbent on the [plaintiff]
     at all times.

New York v. Deutsche Telekom AG, 439 F. Supp. 3d 179, 198–99

(S.D.N.Y. 2020) (quoting Chicago Bridge & Iron Co. N.V. v.

F.T.C., 534 F.3d 410, 423 (5th Cir. 2008) (internal citations

omitted)).46




46Of course, this framework, at first blush appears “somewhat
artificial” and the “shifting of the burdens of production, with
the ultimate burden of persuasion remaining always with the
government, conjures up images of a tennis match, where the
government serves up its prima facie case, the defendant returns
with evidence undermining the government's case, and then the
government must respond to win the point.” Illumina, Inc. v.
Fed. Trade Comm'n, 88 F.4th 1036, 1057 (5th Cir. 2023). As the
Fifth Circuit and others have observed -- and as the case was
tried to this Court -- “[i]n practice, . . . the government
usually introduces all of its evidence at one time, and the
defendant responds in kind. Thus, the evidence is often
considered all at once and the burdens are often analyzed
together.” Id. (citations and quotations omitted).


                                   [64]
    Case 1:23-cv-10511-WGY Document 461 Filed 01/16/24 Page 68 of 113



        “To establish a prima facie case, the Government must (1)

propose the proper relevant market and (2) show that the effect

of the merger in that market is likely to be anticompetitive.”

Fed. Trade Comm'n v. Penn State Hershey Med. Ctr., 838 F.3d 327,

337-338 (3d Cir. 2016).    If the Government establishes a prima

facie case, the burden of production falls to the Defendant

Airlines to rebut that case, by showing “either that the

combination would not have anticompetitive effects or that the

anticompetitive effects of the merger will be offset by

extraordinary efficiencies resulting from the merger.”         Id. at

347 (citing F.T.C. v. H.J. Heinz Co., 246 F.3d 708, 718 (D.C.

Cir. 2001)).    The burden of production on the Defendant Airlines

at this step is “relatively low.”        United States v. Anthem,

Inc., 236 F. Supp. 3d 171, 213 (D.D.C. 2017), aff’d, 855 F.3d

345 (D.C. Cir. 2017).    If the Defendant Airlines successfully

rebut the prima facie case, the burden shifts back to the

Government in the third step “and merges with the ultimate

burden of persuasion, which remains with the government at all

times.”    United States v. Bertelsmann SE & Co. KGaA, 646 F.

Supp. 3d 1, 23 (D.D.C. 2022) (quoting Baker Hughes, 908 F.2d at

983).    “The [G]overnment has the ultimate burden of proving a

Section 7 violation by a preponderance of the evidence.”         See,

e.g., United States v. Aetna Inc., 240 F. Supp. 3d 1, 19 (D.D.C.

2017) (quoting United States v. H & R Block, Inc., 833 F. Supp.


                                  [65]
    Case 1:23-cv-10511-WGY Document 461 Filed 01/16/24 Page 69 of 113



2d 36, 49 (D.D.C. 2011)).     A “‘preponderance of the evidence‘

means ‘more likely true than not.’”      Diaz-Alarcon v. Flandez-

Marcel, 944 F.3d 303, 305 n.2 (1st Cir. 2019) (quoting United

States v. Marino, 833 F.3d 1, 8 (1st Cir. 2016)).        An

acquisition violates Section 7 if it the result “may be

substantially to lessen competition.”      15 U.S.C. § 18.     The

Government’s ultimate burden, therefore, is to prove that a

merger or acquisition more likely than not “may be substantially

to lessen competition.”    Id.; see Illumina, Inc., 88 F.4th at

1059.

          C. Market Definition

                1. Legal Framework

        Relevant markets are the “area of effective competition”

within which competition may be lessened.       Brown Shoe, 370 U.S.

at 324.    They are defined “by reference to a product market (the

‘line of commerce’) and a geographic market (the ‘section of the

country’).”    Id. (citation and quotation omitted).      Defining

relevant markets helps ascertain where “the effect of the merger

on competition will be direct and immediate.”        Philadelphia

Nat’l Bank, 374 U.S. at 357; see Vazquez-Ramos v. Triple-S

Salud, Inc., 55 F.4th 286, 296 (1st Cir. 2022) (“The relevant

market is ‘the area of effective competition....’”) (quoting

Ohio v. American Express Co., 585 U.S. ---, 138 S. Ct. 2274,

2285 (2018)).


                                  [66]
    Case 1:23-cv-10511-WGY Document 461 Filed 01/16/24 Page 70 of 113



        Courts should apply “a pragmatic, factual approach to

definition of the relevant market and not a formal, legalistic

one.”    Brown Shoe, 370 U.S. at 336.    Market definition is a

factual determination that must consider the “commercial

realities” of the marketplace.     Eastman Kodak Co. v. Image Tech.

Servs., Inc., 504 U.S. 451, 482 (1992) (quoting United States v.

Grinnell, 384 U.S. 563, 572 (1966)).      Markets may be defined

from “the perspective of consumers” because “[i]t is the

consumer’s options and the consumer’s choices among them on

which relevant market analysis depends.”       Flovac, Inc. v.

Airvac, Inc., 817 F.3d 849, 855 (1st Cir. 2016); see also United

States v. E. I. du Pont de Nemours & Co., 351 U.S. 377, 395

(1956) (“In considering what is the relevant market for

determining the control of price and competition, no more

definite rule can be declared than that commodities reasonably

interchangeable by consumers . . . .”).

        These consumer-centric principles apply specifically in

defining the relevant geographic market.       A relevant geographic

market “consists of ‘the geographic area in which the defendant

faces competition and to which consumers can practically turn

for alternative sources of the product.’” Coastal Fuels of P.R.,

Inc. v. Caribbean Petroleum Corp., 79 F.3d 182, 196 (1st Cir.

1996) (quoting Baxley-DeLamar v. American Cemetery Assn., 938

F.2d 846, 850 (8th Cir. 1991)); accord Tampa Elec. Co. v.


                                  [67]
    Case 1:23-cv-10511-WGY Document 461 Filed 01/16/24 Page 71 of 113



Nashville Coal Co., 365 U.S. 320, 327 (1961) (geographic market

is the “area in which the seller operates, and to which the

purchaser can practicably turn for supplies”).        Therefore, if

customers “would not consider [a firm] a viable alternative”

because it operates exclusively outside the geographic area to

which the customers can practically turn for the relevant

product, then that firm is outside the relevant geographic

market.   Home Placement Servs., Inc. v. Providence J. Co., 682

F.2d 274, 280 (1st Cir. 1982).

     Of course, in defining the relevant market, the Court may

and should also consider the competitive effects on industry

participants –- it would be “erroneous” to “defin[e] a market on

the basis of demand considerations alone.”       Rebel Oil Co. v.

Atlanta Richfield Co., 51 F.3d 1421, 1436 (9th Cir. 1995); see

also American Express Co., 138 S. Ct. at 2285 (explaining in the

Sherman Act context that the “area of effective competition” is

typically the “arena within which significant substitution in

consumption or production occurs” (emphasis added)); see also

United States Healthcare, Inc. v. Healthsource, Inc., 986 F.2d

589, 599 (1st Cir. 1993) (“Usage patterns, customer surveys,

actual profit levels, comparison of features, ease of entry, and

many other facts are pertinent in answering the question [of

market definition].”).

              2. Defining the Market


                                  [68]
    Case 1:23-cv-10511-WGY Document 461 Filed 01/16/24 Page 72 of 113



     Although the parties here agree that the relevant service

market for assessing the competitive effects of the proposed

acquisition is scheduled air passenger service, the parties

dispute the appropriate geographic scope of the market: the

Government argues that every route on which Spirit or JetBlue

currently flies (or intends to fly absent the merger) is, in

isolation, a relevant market; the Defendant Airlines advocate

for a national geographic market.        Both parties make a

compelling case.

     As previously explained, the airline industry is incredibly

dynamic, with mobile assets (aircraft, pilots, crews, etc.) and

constant exit and entry of new routes by airlines.        Participants

in the airline industry also compete vigorously at the national

level: among other things, routes and flight frequencies change

constantly in accordance with nationally planned route networks,

airlines choose their business model and on-board product

offerings at the national level, and airlines compete nationwide

through valuable customer loyalty programs.       An airline’s

relevance and value to consumers often hinges not just on the

price and specific route, but also its nationwide loyalty

program, airport presence, national and international route

network, and product offerings.

     Airlines also make many of their decisions on the route-by-

route level, themselves oftentimes referring to an O&D pair as a


                                  [69]
    Case 1:23-cv-10511-WGY Document 461 Filed 01/16/24 Page 73 of 113



“market.”   Airlines consistently plan pricing and network

planning at the route level, and decisions to enter or exit a

route are made with the specific, local customers in mind.           The

Defendant Airlines concede that airlines compete at the route

level and that they track other airlines’ actions on a route-by-

route level.

     Origin-and-destination pairs are the geographic areas

within which “consumers can practically turn for alternative

sources of” scheduled air passenger service.        Coastal Fuels, 79

F.3d at 198 (quoting Baxley-DeLamar, 938 F.2d at 850).         The

purpose of scheduled air passenger service is to travel from one

place to another.   For consumers originating in one metropolitan

area and purchasing scheduled air passenger service to travel to

another metropolitan area, such consumers “would not consider it

a viable alternative” to purchase scheduled air passenger

service between a different origin-and-destination pair.         Home

Placement Servs., 682 F.2d at 280.

     Historically, O&D pairs have also been considered relevant

geographic markets for evaluating competition between airlines

in the market for scheduled air passenger service.        See United

States v. American Airlines Grp. Inc., 2023 WL 3560430, at *36

(“Here the parties agree, and the Court finds, that the relevant

product market is ‘scheduled air passenger service,’ and the

relevant geographic markets are O&Ds ‘in which Defendants


                                  [70]
    Case 1:23-cv-10511-WGY Document 461 Filed 01/16/24 Page 74 of 113



compete or would likely compete absent the NEA.’”);         see also

Spirit Airlines, Inc. v. Northwest Airlines, Inc., 431 F.3d 917,

933 (6th Cir. 2005) (accepting Spirit’s position that routes are

relevant geographic markets: “It is at the route level, after

all, that airlines actually compete with one another.”)

(internal citation omitted); Fjord v. AMR Corp., 502 B.R. 23, 40

(Bankr. S.D.N.Y. 2013) (noting that both parties accepted that

“city-pairs are the properly defined market,” and rejecting a

national market because “[a] product market contemplates

products that are viable substitutes for each other” and

plaintiffs had not explained how “a flight from Los Angeles to

New York would compete with a flight from Detroit to Seattle”);

Malaney v. UAL Corp., No. 3:10-CV-02858-RS, 2010 WL 3790296, at

*12 (N.D. Cal. Sept. 27, 2010), aff’d, 434 F. App’x 620 (9th

Cir. 2011) (finding city-pair markets persuasive and rejecting

national market because “plaintiffs have not shown how, for

example, a flight from San Francisco to Newark would compete

with a flight from Seattle to Miami”); In re Nw. Airlines Corp.

Antitrust Litig., 197 F. Supp. 2d 908, 915 (E.D. Mich. 2002)

(“[C]ity-pairs seem to comport with the ordinary and natural

understanding of consumers as they contemplate the purchase of

this industry’s product—namely, such a consumer typically would




                                  [71]
    Case 1:23-cv-10511-WGY Document 461 Filed 01/16/24 Page 75 of 113



survey the options for travel between the desired origin and

destination cities.”).47

     This Court, therefore, defines the relevant geographic

market in this case as each individual O&D pair, otherwise known

as a route, on which the Defendant Airlines currently compete.

In doing so, the Court will continue to consider the impact of

the national geographic market and those factors relevant to it.

     In ruling the relevant market as the individual O&D pairs

upon which the Defendant Airlines compete, the Court dismisses

as immaterial, for the purposes of the Government’s prima facie

case, the “Spirit-entry routes” that the Government has put

forth.    Spirit is not currently present on these routes and

instead has only considered entering these routes absent the

merger.   Neither of the merging Defendant Airlines currently




     47The Defendant Airlines cite to previous airline antitrust
cases in which the Government has posited broader geographic
markets than O&D pairs. In both cases cited, however, the
market proposed by the Government was still not a national
market, but instead a market encompassing all flights in and out
of a certain airport. See, e.g., Compl. ¶¶ 31-32, United States
v. United Continental Holdings, Inc., No. 2:15-cv-07992 (D.N.J.
Nov. 10, 2015), ECF No. 1 (Government asserting that all air
passenger service “to and from Newark [Liberty Airport]
constitutes a relevant antitrust market,” and that “it is
appropriate to aggregate all routes that either originate or
terminate in Newark for the purpose of defining a relevant
market in which the transaction will cause anticompetitive
harm”); Am. Compl. ¶ 31, United States v. US Airways Grp., Inc.,
Case No. 1:13-cv-01236 (D.D.C. Sep. 5, 2013), ECF No. 73
(defining a geographic market for slots at Reagan National
Airport in Washington, D.C.).

                                  [72]
    Case 1:23-cv-10511-WGY Document 461 Filed 01/16/24 Page 76 of 113



compete on these routes, and therefore they are not relevant

under Section 7.48    See, e.g., Philadelphia Nat’l Bank, 374 U.S.

at 357 (“The proper question to be asked in this case is not

where the parties to the merger do business or even where they

compete, but where, within the area of competitive overlap, the

effect of the merger on competition will be direct and

immediate.”).

     The Court accepts as relevant markets the following routes:

nonstop overlap routes that both JetBlue and Spirit currently

fly (both those identified by the Government as “presumptively

illegal” and those identified by the Government as

“econometric”); “connect routes”, which are the routes on which

both Spirit and JetBlue fly connecting service; “mixed routes”,

which are the routes on which one of the Defendant Airlines

flies direct service and the other provides connective service,

and “Spirit-only routes”, which are routes that Spirit currently

flies, but JetBlue does not.

          D. Prima Facie Case

                1. Presumption of Illegality




     48The Government cannot request a geographic market of
specific O&D pairs and then simultaneously request the inclusion
of markets in which Spirit only competes with non-party
airlines. To do so would be to amplify the national geographic
market in which both Spirit and JetBlue compete -- the
Government cannot have its cake and eat it too.

                                  [73]
    Case 1:23-cv-10511-WGY Document 461 Filed 01/16/24 Page 77 of 113



     The Government argues that the proposed acquisition at bar

is “presumptively illegal” because it results in “a merger which

produces a firm controlling an undue percentage share of the

relevant market, and results in a significant increase in the

concentration of firms in that market.”       Philadelphia Nat’l

Bank, 374 U.S. at 363; see also United States v. Continental Can

Co., 378 U.S. 441, 458 (1964) (“Where a merger is of such a size

as to be inherently suspect, elaborate proof of market

structure, market behavior and probable anticompetitive effects

may be dispensed with in view of [Section] 7’s design to prevent

undue concentration.”).    As previously stated, see supra Section

II.F.2., the proposed acquisition would result in a combined

firm market share of either over 2,500 HHI, or an increase in

HHI of over 200, in multiple relevant markets.        An HHI over

2,500, or an increase in HHI of over 200, is considered “highly

concentrated” and has been presumed illegal.        Aetna, 240 F.

Supp. 3d at 42; see also ProMedica Health System, Inc. v.

F.T.C., 749 F.3d 559, 568 (6th Cir. 2014) (noting that a 1,078-

point increase to 4,391 and a 1,323-point increase to 6,854

“blew through [the presumption] barriers in spectacular

fashion”); Heinz, 246 F.3d at 716–17 (510-point increase from

4,775 created a presumption of illegality “by a wide margin”);

F.T.C. v. Sysco Corp., 113 F. Supp. 3d 1, 61 (D.D.C. 2015)

(economic and other evidence “has shown that a merged Sysco-USF


                                  [74]
       Case 1:23-cv-10511-WGY Document 461 Filed 01/16/24 Page 78 of 113



will significantly increase concentrations” and that the

Government “therefore has made its prima facie case and

established a rebuttable presumption that the merger will lessen

competition in the local markets”); H & R Block, 833 F. Supp. 2d

at 71–72 (enjoining a transaction that would have given the

combined firm only a 28.4 percent market share because the

transaction would have resulted in an increase in the HHI of

more than 200 and a post-acquisition HHI that would have

exceeded 2,500).

       The Government identifies 183 relevant routes, each of

which is its own relevant market, in which this presumption

applies.49     The Court finds that this presumption, spurred by the

Department of Justice’s own Horizontal Merger Guidelines, does

not, on its own, sustain a prima facie case.           “[P]resumptions

are not self-executing.”        Deutsche Telekom, 439 F. Supp. 3d at

206.    The Court, therefore, moves on to the direct evidence of

anticompetitive effects presented by the Government.            See Saint

Alphonsus, 778 F.3d at 785-86 (“[P]laintiffs in [Section] 7

cases generally present other evidence as part of their prima

facie case.”).



       The 183 routes can be broken down into: 51 nonstop
       49

overlap routes, 15 mixed overlap routes, and 117 connect overlap
routes. The Government does not, nor could it, identify any
routes on which the presumption applies in the “Spirit-only”
category. Of these 51 nonstop routes, 35 have met the
presumption of illegality consistently over the last 3 years.

                                     [75]
    Case 1:23-cv-10511-WGY Document 461 Filed 01/16/24 Page 79 of 113



              2. Direct Evidence of Anticompetitive Effects

                   a. Elimination of Head-to-Head Competition
                      Between JetBlue and Spirit

     First, the Government has clearly demonstrated that the

merger will cause unilateral anticompetitive effects, as JetBlue

and Spirit currently compete head-to-head on multiple routes.

“The extent of direct competition between the products sold by

the merging parties is central to the evaluation of unilateral

effects.”   ProMedica, 749 F.3d at 569 (quoting Horizontal Merger

Guidelines § 6.1).50   Acquisitions “that eliminate head-to-head

competition between close competitors often result in a

lessening of competition.”     F.T.C. v. Staples, Inc., 190 F.

Supp. 3d 100, 131 (D.D.C. 2016) (“Staples II”) (citing

Horizontal Merger Guidelines § 6); see also, e.g., Heinz, 246

F.3d at 716–17 (ruling that the Government’s prima facie case

was “bolstered by the indisputable fact that the merger will

eliminate competition between the two merging parties”); H & R

Block, 833 F. Supp. 2d at 81–82 (noting the likelihood of




     50The Court is aware that after the trial concluded, on
December 18, 2023, the F.T.C. and DOJ issued a revised set of
Merger Guidelines. See Justice Department and Federal Trade
Commission Release 2023 Merge Guidelines, U.S. Dep’t of Just.,
Off. of Pub. Affs., https://www.justice.gov/opa/pr/justice-
department-and-federal-trade-commission-release-2023-merger-
guidelines (last visited Jan. 12, 2024); 2023 Merger Guidelines,
U.S. Dep’t of Just., Antitrust Div.,
https://www.justice.gov/atr/2023-merger-guidelines (last visited
Jan. 12, 2024).

                                  [76]
    Case 1:23-cv-10511-WGY Document 461 Filed 01/16/24 Page 80 of 113



unilateral anticompetitive effects given evidence of H & R Block

lowering its prices in response to direct competition from

TaxACT, including H & R Block documents that “appear to

acknowledge that TaxACT has put downward pressure on HRB’s

pricing ability”).

     If the collaborating parties are particularly close

competitors, the unilateral effects are especially acute.          See

Bertelsmann, 646 F. Supp. 3d at 39 (“The analysis of unilateral

effects focuses on how closely the merging firms currently

compete, in order to extrapolate the effects of eliminating that

competition.”); F.T.C. v. Libbey, 211 F. Supp. 2d 34, 47-48

(D.D.C. 2002) (discussing evidence of head-to-head competition

between the merging parties, including taking customers from

each other); F.T.C. v. Swedish Match, 131 F. Supp. 2d 151, 169

(D.D.C. 2000) (“[T]he weight of the evidence demonstrates that a

unilateral price increase by Swedish Match is likely after the

acquisition because it will eliminate one of Swedish Match’s

primary direct competitors.”).     The parties need not be each

other’s closest competitors to raise a threat to competition;

being close competitors is enough for an acquisition to result

in upward pricing pressure.     Anthem, 236 F. Supp. 3d at 216

(“Anthem’s insistence that United, not Cigna, is its ‘closest’

competitor, is beside the point.      The acquired firm need not be

the other’s closest competitor to have an anticompetitive


                                  [77]
    Case 1:23-cv-10511-WGY Document 461 Filed 01/16/24 Page 81 of 113



effect; the merging parties only need to be close

competitors.”).

     The loss of Spirit’s influence on JetBlue as a head-to-head

competitor would likely result in less competition to both

discipline the prices and spur the innovation of JetBlue as a

smaller, maverick -– more competitive -- market participant.

                    b. Elimination of Spirit’s Competition with
                       Other Airlines

     Along with Spirit’s influence on JetBlue as a competitor in

the scheduled airline passenger market, the proposed acquisition

would eliminate Spirit as a competitor to all other airlines in

the market, resulting in less pressure on all other airlines to

compete.    Spirit, as the first domestic ULCC, is a uniquely

disruptive competitor that consistently puts pressure on other

airlines, both to lower their prices and to innovate (whether

through the introduction of basic economy fares or other cost-

saving measures).    “Anticompetitive effects are more likely

still when ‘the merger would result in the elimination of a

particularly aggressive competitor in a highly concentrated

market.’”   Aetna, 240 F. Supp. 3d at 43, 74 (quoting F.T.C. v.

Staples, Inc., 970 F. Supp. 1066, 1083 (D.D.C. 1997) (“Staples

I”)) (enjoining merger in part because Aetna was a “particularly

aggressive” Medicare Advantage competitor); see also United

States v. Alcoa, 377 U.S. 271, 281 (1964) (“The record shows



                                  [78]
    Case 1:23-cv-10511-WGY Document 461 Filed 01/16/24 Page 82 of 113



indeed that Rome was an aggressive competitor. . . .

Preservation of Rome, rather than its absorption by one of the

giants, will keep it ‘as an important competitive factor’ . . .

. Rome seems to us the prototype of the small independent that

Congress aimed to preserve by [Section] 7.”); American Airlines,

2023 WL 3560430, at *34, 36 (finding that anticompetitive

effects of joint venture between direct competitors JetBlue and

American Airlines were amplified because “JetBlue has sacrificed

a degree of its independence and weakened its status as an

important ‘maverick’ competitor in the [highly concentrated

airlines] industry”).

     The loss of Spirit’s innovation, in particular, would be a

loss for all consumers in the national scheduled airline

passenger market.   A reduction in product innovation resulting

from an acquisition is a cognizable harm to competition.         See,

e.g., Hackensack, 30 F.4th at 172 (recognizing that

anticompetitive effects can include reduced product innovation);

Viamedia, Inc. v. Comcast Corp., 951 F.3d 429, 475 (7th Cir.

2020) (same); Anthem, 855 F.3d at 361 (a “threat to innovation

is anticompetitive in its own right”).

     The key question in determining whether a transaction may

substantially lessen competition by dampening the firm’s

disruptive force is whether the firm “play[s] a special role in

th[e] market that constrains prices.” H & R Block, 833 F. Supp.


                                  [79]
    Case 1:23-cv-10511-WGY Document 461 Filed 01/16/24 Page 83 of 113



2d at 80; see also Hackensack, 30 F.4th at 172 (recognizing that

anticompetitive effects can include reduced product innovation).

In eliminating Spirit from the marketplace, the proposed

transaction would, by definition, dampen Spirit’s disruptive

force.   As Spirit plays a special role in the market, both to

constrain prices and spur innovation, the proposed transaction

would substantially lessen competition among other, non-party

airlines.

                   c. Elimination of Spirit’s as a Choice for
                      Consumers

     A merger’s elimination of a product option that consumers

value is a cognizable harm to competition.       See, e.g., Anthem,

855 F.3d at 366 (“[I]f merging firms would withdraw a product

that a significant number of customers strongly prefer to those

products that would remain available, this can constitute a harm

to customers over and above any effects on the price or quality

of any given product.”) (internal citations omitted) (quoting

Horizontal Merger Guidelines § 6.4); see also F.T.C. v. Indiana

Fed’n of Dentists, 476 U.S. 447, 459 (1986) (ruling that

consumers can be harmed by an agreement to “withhold from

customers a particular service that they desire” since it

“limit[s] consumer choice by impeding the ordinary give and take

of the market place”) (internal citations omitted); MacDermid

Printing Sols. LLC v. Cortron Corp., 833 F.3d 172, 183 (2d Cir.



                                  [80]
    Case 1:23-cv-10511-WGY Document 461 Filed 01/16/24 Page 84 of 113



2016) (“We have suggested that actions that reduce consumer

choice are inherently anticompetitive.”); Realcomp II, Ltd. v.

F.T.C., 635 F.3d 815, 829–31 (6th Cir. 2011) (affirming finding

that “restrictions on consumer choice,” specifically

“restricting consumer access to discount listings,” is “likely

to have an adverse impact on competition”); United States v.

Dentsply Int’l, Inc., 399 F.3d 181, 194 (3d Cir. 2005); Glen

Holly Ent., Inc. v. Tektronix Inc., 352 F.3d 367, 374 (9th Cir.

2003).

     The Government has demonstrated that consumers value Spirit

flights as a unique, economical product option.        The removal of

Spirit as an option for consumers, therefore, would constitute a

cognizable harm.

               3. The Government Has Established a Prima Facie
                  Case

     The increased concentration that would occur in relevant

markets if proposed acquisition were to succeed, as well as the

other anticompetitive effects demonstrated by the Government --

each independently sufficient -- establishes a prima facie case

of harm under Section 7.

         E. The Defendant Airlines’ Rebuttal

     The “quantum of evidence defendants must produce to shift

the burden back is relatively low.”      Anthem, 236 F. Supp. 3d at

213 (“[D]efendants are not required to ‘clearly disprove



                                  [81]
    Case 1:23-cv-10511-WGY Document 461 Filed 01/16/24 Page 85 of 113



anticompetitive effect,’ but rather to make ‘a showing.’”)

(citing Baker Hughes, 908 F.2d at 991).       The Defendant Airlines’

burden is necessarily low because “[i]f the burden of production

imposed on a defendant is unduly onerous, the distinction

between that burden and the ultimate burden of persuasion --

always an elusive distinction in practice -- disintegrates

completely.”   Baker Hughes, 908 F.2d at 991.       “A defendant

required to produce evidence ‘clearly’ disproving future

anticompetitive effects must essentially persuade the trier of

fact on the ultimate issue in the case—whether a transaction is

likely to lessen competition substantially.       Absent express

instructions to the contrary, [the Court is] loath to depart

from settled principles and impose such a heavy burden.”         Id.

     Though a defendant’s burden is low, the stronger a

plaintiff’s prima facie case, the heavier the rebuttal burden

becomes.   In Baker Hughes, the court reasoned that the

defendants’ rebuttal bar was relatively low in that instance

because the plaintiff in that case relied only on a structural

presumption, Baker Hughes, 908 F.2d at 983, but that reasoning

“does not control” when a plaintiff, like the Government here,

bolsters its prima facie case by taking on the defendants’

rebuttal arguments in its prima facie case.       Olin Corp. v.

F.T.C., 986 F.2d 1295, 1305 (9th Cir. 1993).        Rather, “if a

Government’s prima facie case anticipates and addresses the


                                  [82]
    Case 1:23-cv-10511-WGY Document 461 Filed 01/16/24 Page 86 of 113



respondent’s rebuttal evidence, . . . the prima facie case is

very compelling and significantly strengthened,” and “the

[defendants’] burden of production on rebuttal is also

heightened.”   Chicago Bridge, 534 F.3d at 426; see also

Hackensack, 30 F.4th at 173 (“[D]irect evidence strengthens the

probability that the merger will likely lead to anticompetitive

effects and, thus, the [plaintiff’s] prima facie case.”);

ProMedica, 749 F.3d at 571; Heinz, 246 F.3d at 717 (evidence of

head-to-head competition “bolster[s]” plaintiff’s prima facie

case).

     Defendants may meet their burden to rebut the Government’s

prima facie case either by “affirmatively showing why a given

transaction is unlikely to substantially lessen competition, or

by discrediting the data underlying the initial presumption in

the government’s favor.”     Baker Hughes, 908 F.2d at 991.      The

Defendant Airlines here attempt to do both and have also

provided other evidence regarding the potential pro-competitive

effects of the proposed acquisition.

               1. Ease of Entry

     The Defendant Airlines first point to the ease of entry by

potential competitors into the relevant markets that may be

harmed, particularly other ULCCs (but also LCCs and legacy

airlines with unbundled, basic economy offerings).        Courts have

long held that “entry by potential competitors may be considered


                                  [83]
    Case 1:23-cv-10511-WGY Document 461 Filed 01/16/24 Page 87 of 113



in appraising whether a merger will ‘substantially lessen

competition.’”   United States v. Waste Mgmt., Inc., 743 F.2d

976, 983 (2d Cir. 1984).     “Whether entry is included as part of

the market definition or in the ease of entry evaluation,

practically, is of no consequence.       In either event, the result

is the same.   The exercise of market power will be thwarted and

collusive behavior will not be possible.”       F.T.C. v. Occidental

Petroleum Corp., No. 86-900, 1986 WL 952, at *8 (D.D.C. Apr. 29,

1986) (internal citation omitted); see also Deutsche Telekom,

439 F. Supp. 3d at 207 (courts may include “ease of entry into

the market” in assessing the totality of the circumstances under

Step Two of Baker Hughes).

     The Defendant Airlines need not show competitors will enter

the relevant markets or precisely when the entry will occur.

Baker Hughes, 908 F.2d at 983 (“The government argues that, as a

matter of law, section 7 defendants can rebut a prima facie case

only by a clear showing that entry into the market by

competitors would be quick and effective. . . . We find no merit

in the legal standard propounded by the government.         It is

devoid of support in the statute, in the case law, and in the

government's own Merger Guidelines.”); United States v. Syufy

Enters., 903 F.2d 659, 667 n.13 (9th Cir. 1990) (“We cannot and

should not speculate as to the details of a potential

competitor’s performance; we need only determine whether there


                                  [84]
    Case 1:23-cv-10511-WGY Document 461 Filed 01/16/24 Page 88 of 113



were barriers to the entry of new faces into the market.”).

Instead, a defendant need only show that potential competitors

could enter relevant markets, and that barriers to that entry

are low.

     There is no requirement, therefore, to prove that entry

would replace Spirit one-for-one, on each route that it may exit

post-merger.   The Government is correct that the Defendant

Airlines must demonstrate that entry into the relevant markets

would be “timely, likely, and sufficient in its magnitude,

character, and scope to deter or counteract the competitive

effects of concern.”    F.T.C. v. Sanford Health, 926 F. 3d 959,

965 (8th Cir. 2019) (quoting Horizontal Merger Guidelines § 9).51

The Defendant Airlines, however, have done that successfully, as

explained below.

                   a. Timely Entry




     51See also, e.g., Penn State Hershey, 838 F. 3d at 351–52;
Chicago Bridge, 534 F.3d at 429–30; Bertelsmann, 646 F. Supp. 3d
at 51; Deutsche Telekom, 439 F. Supp. 3d at 226; F.T.C. v. Wilh.
Wilhelmsen Holding ASA, 341 F. Supp. 3d 27, 66–67 (D.D.C. 2018);
United States v. Energy Sols., Inc., 265 F. Supp. 3d 415, 443
(D. Del. 2017); Aetna, 240 F. Supp. 3d at 52–53; Saint Alphonsus
Med. Ctr.-Nampa, Inc. v. St. Luke’s Health Sys., Ltd., Nos.
1:12-CV-00560-BLW; 1:13-CV-00116-BLW, 2014 WL 407446, at *19 (D.
Idaho Jan. 24, 2014), aff’d, 778 F.3d 775 (9th Cir. 2015);
United States v. Bazaarvoice, Inc., No. 13-cv-00133, 2014 WL
203966, at *39 (N.D. Cal. Jan. 8, 2014); F.T.C. v. ProMedica
Health Sys., No. 3:11 CV 47, 2011 WL 1219281, at *57 (N.D. Ohio
Mar. 29, 2011); United States v. Visa U.S.A., Inc., 163 F. Supp.
2d 322, 342 (S.D.N.Y. 2001); F.T.C. v. Cardinal Health, Inc., 12
F. Supp. 2d 34, 54–58 (D.D.C. 1998).

                                  [85]
    Case 1:23-cv-10511-WGY Document 461 Filed 01/16/24 Page 89 of 113



     Entry is “timely” when it is “soon enough to offset

anticompetitive effects of the merger.”       Sanford Health, 926

F.3d at 965; accord Energy Sols., 265 F. Supp. 3d at 443 (“Entry

is timely only if it rapid enough to deter or render

insignificant the anticompetitive effects of the merger”)

(citing Anthem, 236 F. Supp. 3d at 221–22).       When entry will

take a period of several years, it likely will not deter

anticompetitive activity by the merged firm.        See F.T.C. v.

Elders Grain Inc., 868 F.2d 901, 905 (7th Cir. 1989) (“And since

entry into the [dry corn] industry is slow -- it takes three to

nine years to design, build, and start operating a new mill --

colluding sellers need not fear that any attempt to restrict

output in order to drive up price would be promptly nullified by

new production.”); Visa, 163 F. Supp. 2d at 342 (“The higher the

barriers to entry, and the longer the lags before new entry, the

less likely it is that potential entrants would be able to enter

the market in a timely, likely, and sufficient scale to deter or

counteract any anticompetitive restraints.”).

     The Government argues that here the appropriate timeframe

to evaluate future competitive entry is as fast as possible,

“possibly immediate,” due to the dynamic characteristics of the

airline industry.   See Pls.’ Proposed Conclusions of Law ¶ 82,

ECF No. 448 (“In some markets, this may mean entry has to occur

within weeks or month....”).     Such a timeframe is both


                                  [86]
    Case 1:23-cv-10511-WGY Document 461 Filed 01/16/24 Page 90 of 113



unrealistic and a walk-back from the Government’s concession in

its pretrial brief that entry is timely if it is “rapid enough

to deter or render insignificant the anticompetitive effects of

the merger within two to three years.”       Pls.’ Pretrial Br. at

23, ECF No. 289.   Two-to-three years is the timeline the

Defendant Airlines propose.     Considering the parties at one time

agreed and based upon the record of this case –- including the

unique circumstances of the post-pandemic’s profound effects on

the airline industry -- the Court rules that a two-to-three year

timeframe of reference controls.

     Using two-to-three years as the timeframe in which to

situate the Court’s analysis, the Defendant Airlines

demonstrated that entry would be “timely.”       In particular, entry

barriers on routes are very low, aircraft are mobile, and entry

onto routes, including the 35 routes on which the Government

most focused, happens almost constantly.       Not only that, but the

Defendant Airlines adduced evidence directly from potential

entrants who cogently testified that they had both the ability

and incentive to enter profitable routes vacated by Spirit.52


     52For instance, when an airline exits or reduces capacity
on a “proven” route, other airlines seek quickly to enter or
expand to fill any unmet demand. Tr. 11/14/23 (Biffle/Frontier)
104:3–13 (explaining that if Spirit exits routes, Frontier
“would look [to enter] those probably first because they’re
proven”); Tr. 11/3/23 (Yealy/Avelo) 39:21–40:18 (explaining
Avelo began commercial service from Dubuque, Iowa following
American’s exit from the airport); Dep. 7/17/23

                                  [87]
    Case 1:23-cv-10511-WGY Document 461 Filed 01/16/24 Page 91 of 113



Two-to-three years after the merger would likely be just as

JetBlue is making headway in converting Spirit aircraft, as the

Defendant Airlines expect it to take 18 months simply to receive

their FAA Combined Operating Certificate.       Within that

timeframe, the Court could reasonably expect some entry by other

ULCCs, LCCs, and/or legacy airlines with unbundled, basic

economy offerings into almost any of the markets vacated by

Spirit.

                    b. Likely Entry

        Entry is “likely” only “if it would be profitable and

feasible, accounting for all the attendant costs and

difficulties.”    Energy Sols., 265 F. Supp. 3d at 443; accord

Anthem, 236 F. Supp. 3d at 222 (“[E]ntry must be ‘profitable,

accounting for the assets, capabilities, and capital needed and

the risks involved, including the need for the entrant to incur

costs that would not be recovered if the entrant later exits.’”

(quoting Horizontal Merger Guidelines § 9.2)).        “As a matter of

economic reality, companies do not simply enter any market they

can.”    Bazaarvoice, 2014 WL 203966, at *71.     The likelihood of

entry depends on whether entrants “have the requisite ability”




(Neeleman/Breeze) 215:21– 216:18 (explaining Breeze monitors
Frontier’s entries and exits because “those are potential
markets that we can go in. These are all, you know, either
backfill opportunities or areas that we have to take a look
at”).

                                  [88]
    Case 1:23-cv-10511-WGY Document 461 Filed 01/16/24 Page 92 of 113



to enter, whether entry into the relevant markets is “within

their strategy,” and whether entry would be financially

attractive to entrants, considering the risks of entry and the

economic trade-offs of entering the relevant markets compared to

using those same resources to enter other markets or pursue

other business opportunities.     Id.

     The “mere threat of entry” is insufficient.        Chicago

Bridge, 534 F.3d at 430 n.10.     Rather, “there is a high

threshold applied to assertions as to whether a company can be

considered a potential entrant,” and Defendants “must provide

evidence that the likelihood of entry reaches a threshold

ranging from ‘reasonable probability’ to ‘certainty.’”         Id.      To

be “likely,” entry must also be “tied to the relevant geography”

because entry outside the relevant markets cannot “counteract a

merger’s anticompetitive effects.”       Anthem, 236 F. Supp. 3d at

222; see also Cardinal Health, 12 F. Supp. 2d at 56 (“The

history of entry into the relevant market is a central factor in

assessing the likelihood of entry in the future.”).

     Again, the Defendant Airlines have successfully

demonstrated that entry by other airlines is likely.         As

referenced previously, see footnote 50, supra, other ULCCs would

likely consider previous Spirit routes immediately, as they are

proven to be profitable.     The proposed divestitures would

particularly assist in this entry; of the five cities in which


                                  [89]
    Case 1:23-cv-10511-WGY Document 461 Filed 01/16/24 Page 93 of 113



Spirit and JetBlue currently compete most heavily, either low

barriers to entry and the already strong presence of other

airlines (Orlando, San Juan) or divestitures (Miami/Fort

Lauderdale, Boston, New York City) make such entry exceedingly

likely.   The evidence on entry is consistent with or stronger in

this case than many of the other cases that have found entry

sufficient to offset or deter any anticompetitive effects.          In

those cases, the courts found mergers did not violate Section 7

based on evidence of low barriers to entry and some evidence of

historical entry that showed competitors were able to chase

profit opportunities.    See Baker Hughes, 908 F.2d at 988-89 (no

Section 7 violation where some entry barriers existed but were

not high enough to deter entry in the event of “supracompetitive

pricing” given evidence of recent entry into the market and

other competitors that could potentially enter); Syufy Enters.,

903 F.2d at 665 (no Section 7 violation where there were low

barriers to entry and significant expansion by remaining

competitor); Waste Mgmt., 743 F.2d at 983 (no Section 7

violation where there were low barriers to entry, assets were

mobile, and there was evidence of a competitor from a

neighboring city entering the market).

     While the Court is tasked with a forward-looking exercise,

recent entry by competitors can undermine claims of competitive

harms.    See F.T.C. v. Qualcomm Inc., 969 F.3d 974, 996 (9th Cir.


                                  [90]
    Case 1:23-cv-10511-WGY Document 461 Filed 01/16/24 Page 94 of 113



2020).   This “history of entry into the relevant market is a

central factor in assessing the likelihood of entry in the

future.” Cardinal Health Inc., 12 F. Supp. 2d at 56.         The

Government’s expert, Dr. Chipty, evaluated more than 4,700 entry

events from just four ULCCs that she identified over the course

of five-and-a-half years, from 2017 to 2022.        Numerous fact

witnesses also confirmed the large number of entries and exits

that regularly occur in the airline industry as airlines chase

profitable routes.    Evidence in the record even reflects that

other ULCCs have started already entering routes that Spirit

exited this year.    There is no evidence in the record that

suggests that this recent history of entry will not continue in

the future.   The Court, therefore, finds that entry of other

ULCCs is likely, particularly under the low burden of proof the

Defendant Airlines currently face.

                    c. Sufficient Entry

     The closer question before the Court, therefore, is whether

entry by other ULCCs, as well as LCCs and unbundled offerings

from the legacy airlines, will be sufficient to replace Spirit.

It is this issue that the Defendant Airlines have the most

difficult time grappling, though the Court recognizes that at

this, the second step of the Baker Hughes framework, a

defendant’s burden is low.




                                  [91]
    Case 1:23-cv-10511-WGY Document 461 Filed 01/16/24 Page 95 of 113



     To be “sufficient,” “entry has to be of a ‘sufficient

scale’ adequate to constrain prices and break entry barriers.”

Chicago Bridge, 534 F.3d at 429; accord Penn State Hershey, 838

F.3d at 352 (entrants must “have the ability to constrain post-

merger prices” in the relevant markets) (citation omitted);

Energy Sols., 265 F. Supp. 3d at 443 (“[E]ntry is sufficient

only if it can ‘affect pricing’ and ‘scale to compete on the

same playing field’ as the merged firm.”) (citation omitted);

see also Wilh. Wilhelmsen, 341 F. Supp. 3d at 67 (entry is

sufficient where “the entering competitors provide products that

‘are close enough substitutes to the products offered by the

merged firm to render a price increase unprofitable’ and there

are limited constraints on entrants’ ‘competitive

effectiveness,’ such that one firm can replicate the scale and

strength of a merging firm, or one or more firms can operate

without competitive disadvantage”) (cleaned up) (citing

Horizontal Merger Guidelines §§ 9.1–9.3); Cardinal Health, 12 F.

Supp. 2d at 58 (lack of another national wholesaler after the

merger was “too great a competitive loss --which the regional

wholesalers cannot sufficiently replace”).

     When assessing the sufficiency of entry, the relevant

question is whether the potential entrants would enter and

expand beyond their own existing growth plans to replace the

void created by the elimination of the competitive intensity of


                                  [92]
    Case 1:23-cv-10511-WGY Document 461 Filed 01/16/24 Page 96 of 113



the acquired firm.    See F.T.C. v. Tronox, Ltd., 332 F. Supp. 3d

187, 214 (D.D.C. 2018) (rejecting argument regarding entry by

foreign producers because proposed entrants would need to expand

rapidly and, even if they did, would first fulfill existing and

unmet domestic demand before entering the relevant (foreign)

markets); see also Sysco Corp., 113 F. Supp. 3d at 80–81

(rejecting entry and expansion arguments because, despite

evidence of competitors opening new facilities and having

existing plans to grow, distributors had no plans to reposition

or increase planned expansion to compete in the relevant markets

that would be harmed by the merger).

     Entry must build upon, rather than supersede, potential

entrants’ existing business plans, because merger analysis

considers the future world with and without the merger.         Anthem,

236 F. Supp. 3d at 191 (“In essence, in a merger trial, the

Court is making a prediction about the future.”).        Potential

entrants’ existing plans to compete are already baked into the

world without the merger; therefore, those pre-existing growth

or entry plans do not count toward filling the void created by

the merger.   If entrants try to enter relevant markets without

growing beyond their pre-existing plans, they would need to

abandon existing markets or markets where they would have

otherwise entered or grown but-for the merger.        That entry

cannot offset anticompetitive effects of the merger because it


                                  [93]
    Case 1:23-cv-10511-WGY Document 461 Filed 01/16/24 Page 97 of 113



would create new harms to competition.       Sanford Health, 926 F.3d

at 965 (to offset anticompetitive effects, entry must

“counteract the competitive effects of concern”); cf.

Hackensack, 30 F.4th at 176 (for efficiencies to rebut a prima

facie case they must “not arise from anticompetitive reductions

in output or service”).

     Sufficient entry is even more difficult to prove when, as

here, the competitor being eliminated is a unique disruptor in

the industry.   Entry by members of an industry’s existing

oligopoly may not be sufficient to fill a competitive void left

by the elimination of a disruptive competitor that had

historically disciplined those larger firms.        See Bertelsmann,

646 F. Supp. 3d at 53 (rejecting argument that expansion of

existing “Big Five” would be sufficient due to lack of evidence

that others in the Big Five “could or would compete more

aggressively with the merged company”).       Likewise, entry by

competitors unable to replicate the competitive intensity of the

acquired firm is insufficient.     Staples II, 190 F. Supp. 3d at

133-37 (rejecting potential entrants who lack the existing

ability to compete of the acquired firm); Cardinal Health, 12 F.

Supp. 2d at 58 (regional competitors unlikely to replicate the

competitive vigor of national competitors).

     With the elimination of Spirit, it would fall to other

ULCCs not only to backfill Spirit routes, but also both to


                                  [94]
    Case 1:23-cv-10511-WGY Document 461 Filed 01/16/24 Page 98 of 113



continue their own growth and to succeed in disciplining other,

larger airlines as to both price and innovation        -- a tough row

to hoe.    As explained above, see supra Section II.A., airlines

are facing obstacles to growth in the post-pandemic world.

Aircraft manufacturing delays, ATC issues, pilot staffing

issues, and engine problems are currently making airline growth

more difficult.    Frontier’s CEO estimated that it would take

Frontier at least five to eight years to replace Spirit and

operate its existing schedule, and this estimate does not even

include maintaining Frontier’s pre-existing growth plan.         See

Supra n.8.    These constraints on airline growth suggest that

although other airlines are likely to enter markets left by

Spirit and might even enter some within two to three years, such

entry might not be sufficient to replace Spirit’s current

presence in the industry.     The Court, therefore, must continue

its analysis before it can determine whether the Defendant

Airlines have successfully rebutted the Government’s prima facie

case.

                2. The Government’s Data

        The Defendant Airlines attempt to undermine the

Government’s market share data as unreliable, arguing: 1) such

route-level, static market share statistics ignore the

particularities of the airline industry; and 2) such statistics

ignore potential entrants.     The Defendant Airlines are correct


                                  [95]
    Case 1:23-cv-10511-WGY Document 461 Filed 01/16/24 Page 99 of 113



that the airline industry is dynamic, with routes shifting

weekly, if not daily, and this dynamism does lead to robust,

ever-changing competition on routes.      Due to these constant

changes, “it cannot be concluded from market statistics alone

that an acquisition will lessen competition.”         Occidental

Petroleum, 1986 WL 952, at *7–8 (holding that ongoing “vigorous

price competition” and ease of entry for potential competitors

“lessen[ed] the probative value of the Commission’s market

concentration statistics”).

     Ignoring potential entrants can also result in misleading

market shares.   “In the present case, a market definition

artificially restricted to existing firms competing at one

moment may yield market share statistics that are not an

accurate proxy for market power when substantial potential

competition able to respond quickly to price increases exists.”

Waste Mgmt., 743 F.2d at 982.     The “appraisal of the impact of a

proposed merger upon competition must take into account

potential competition from firms not presently active in the

relevant product and geographic markets.”       Id.   The Government

and its experts do not fully take that potential competition

into account in their calculation of market shares on routes,




                                  [96]
   Case 1:23-cv-10511-WGY Document 461 Filed 01/16/24 Page 100 of 113



and that calls into question the predictive value of current

shares and undermines their reliance on the presumption.53        Id.

               3. Pro-competitive Effects of the Proposed
                  Acquisition

       Finally, the Defendant Airlines present various pieces of

evidence to establish that the proposed acquisition is in fact

pro-competitive.   Again, they do this in two ways: 1) with

evidence that Spirit is struggling financially, suggesting that

the proposed acquisition would in fact protect consumers from

facing a weakened, failing Spirit; and 2) with evidence that the

combined firm would provide a stronger competitive counterpart

to the Big Four, who control 80% of the market, than either

JetBlue or Spirit could do on its own.

       There are two legal doctrines relevant to an acquired

firm’s financial performance.     The first is the “failing

company” doctrine.   This defense, as explained above, takes a

“lesser of two evils approach.”     General Dynamics, 415 U.S. at

507.    The rationale is that, if a company is on the brink of

failing, “the possible threat to competition resulting from an

acquisition is deemed preferable to the adverse impact on




       In calculating the number of presumptively
       53

anticompetitive routes, the Government’s experts also were
looking at data that, by the time of trial, was out of date.
Further demonstrating the dynamism of the airline industry, by
the time of trial either Spirit or JetBlue had exited some of
the routes the Government’s experts originally identified.

                                 [97]
   Case 1:23-cv-10511-WGY Document 461 Filed 01/16/24 Page 101 of 113



competition and other losses if the company goes out of

business.”   Id.; accord Energy Sols., Inc., 265 F. Supp. 3d at

444.   Numerous Spirit witnesses explained at trial that Spirit

is struggling financially -- including that Spirit anticipates a

$467,000,000 loss for 2023 (on top of prior losses over

$1,000,000,000) and has not been profitable since 2019.         These

losses, though significant, do not, on their own, provide an

affirmative defense to the Government’s prima facie case.

       A defendant asserting the failing firm defense bears the

“burden of proving” three distinct elements: (1) the acquired

firm “face[s] the grave probability of a business failure,” (2)

“[t]he prospects of reorganization” under the bankruptcy laws

are “dim or nonexistent,” and (3) “the company that acquires the

failing company . . . is the only available purchaser.”         Citizen

Publ’g Co. v. United States, 394 U.S. 131, 137–38 (1969)

(internal citations and quotations omitted); accord Dr.

Pepper/Seven-Up Cos. v. F.T.C., 991 F.2d 859, 864–65 (D.C. Cir.

1993); Steves & Sons, Inc. v. JELD-WEN, Inc., 290 F. Supp. 3d

507, 511–12 (E.D. Va. 2018).     These requirements reflect the

“strict limits placed on [the] defense” by the Supreme Court in

several of its cases.    See General Dynamics, 415 U.S. at 506

(citing cases).   Although Spirit is struggling, its executives

testified that the airline had a long-term plan to return to

profitability.    See, e.g., Tr. Ex. 678 at 2; Tr. 11/7/2023


                                 [98]
   Case 1:23-cv-10511-WGY Document 461 Filed 01/16/24 Page 102 of 113



(Gardner/Spirit) 75:2-10.    JetBlue is also far from the only

available purchaser, should Spirit find itself in dire need.

     The second doctrine that can be relevant to an acquired

firm’s financial performance is the so-called “weakened

competitor” or “flailing firm” defense.      Courts view such a

defense skeptically, in part because a “‘weak company’ defense

would expand the failing company doctrine, a defense which has

strict limits.”   F.T.C. v. Warner Commc’ns, Inc., 742 F.2d 1156,

1164 (9th Cir. 1984) (citations omitted).       One court has

described this defense as “probably the weakest ground of all

for justifying a merger,” Kaiser Alum. & Chem. Corp. v. F.T.C.,

652 F.2d 1324, 1339–41 (7th Cir. 1981), and another dismissed it

as “the Hail-Mary pass of presumptively doomed mergers,”

ProMedica, 749 F.3d at 572.    Courts credit the weakened-

competitor defense “only in rare cases, when the defendant makes

a substantial showing that the acquired firm’s weakness, which

cannot be resolved by any competitive means, would cause that

firm’s market share to reduce to a level that would undermine

the Government’s prima facie case.”      University Health, 938 F.2d

at 1221.   “This argument is disfavored because it fails to

account for the fact that ‘financial difficulties not raising a

significant threat of failure are typically remedied in a

moderate length of time,’ whereas a merger is a relatively

permanent action that eliminates the potential for future


                                 [99]
   Case 1:23-cv-10511-WGY Document 461 Filed 01/16/24 Page 103 of 113



competition between the merging parties.”       Aetna, 240 F. Supp.

3d at 92 (citing Phillip E. Areeda & Herbert Hovenkamp,

Antitrust Law ¶ 963a3 (4th ed. 2016) (“Areeda & Hovenkamp”)).

        The Defendant Airlines argue that because Spirit is

struggling financially, its “market share [is reduced] to a

level that would undermine the Government’s prima facie case.”

University Health, 938 F.2d at 1221.      But as the ProMedica Court

observed, this argument is a “Hail-Mary pass,” and it misses the

mark.    The requirement that an acquired firm’s weakness “cannot

be resolved by any competitive means,” University Health, 938

F.2d at 1221, means that the weakness cannot merely involve poor

financial performance.    It must involve a firm no longer able to

access resources that are necessary to compete.       See, e.g.,

General Dynamics, 415 U.S. at 501–04 (coal producer had “neither

the possibility of acquiring more reserves nor the ability to

develop deep coal reserves, and thus was not in a position to

increase its reserves”); F.T.C. v. Arch Coal, Inc., 329 F. Supp.

2d 109, 155–57 (D.D.C. 2004) (noting that the acquired firm’s

mines would produce less than they had in the past, and there

were not good prospects for acquiring new mines); Deutsche

Telekom, 439 F. Supp. 3d at 218–24 (wireless provider had “no

clear path to obtaining” necessary assets, including no

alternative acquirer, and therefore had “no convincing prospects

for improvement”) (internal citations omitted).       The Defendant


                                 [100]
   Case 1:23-cv-10511-WGY Document 461 Filed 01/16/24 Page 104 of 113



Airlines presented no evidence that Spirit was in such a dire

financial situation that it had no hope for the future; instead,

multiple Spirit executives testified that the airline had a plan

to return to profitability.

     Though their arguments regarding Spirit’s profitability

lack merit, the Defendant Airlines provide strong evidence that

the combined, post-merger airline would be procompetitive and

result in substantial benefits for consumers.       This is a so-

called efficiency defense.    As one court has noted,

     It remains unclear whether and how a court may
     consider evidence of a merger's efficiencies. While
     the Supreme Court has previously stated that
     “[p]ossible economies cannot be used as a defense to
     illegality,” F.T.C. v. Procter & Gamble Co., 386 U.S.
     568, 580 (1967), lower courts have since considered
     whether possible economies might serve not as
     justification for an illegal merger but as evidence
     that a merger would not actually be illegal. The trend
     among lower courts has thus been to recognize or at
     least assume that evidence of efficiencies may rebut
     the presumption that a merger's effects will be
     anticompetitive, even if such evidence could not be
     used as a defense to an actually anticompetitive
     merger.


Deutsche Telekom, 439 F. Supp. 3d at 207.

     Courts have recognized efficiencies in several forms.          The

merged firms’ ability to offer new or enhanced services is

itself a procompetitive benefit.     See, e.g., Deutsche Telekom,

439 F. Supp. 3d at 207-209 (recognizing efficiencies such as the

accelerated introduction of cellular service based on new



                                 [101]
   Case 1:23-cv-10511-WGY Document 461 Filed 01/16/24 Page 105 of 113



technology); United States v. M.P.M., Inc., 397 F. Supp. 78, 93

(D. Colo. 1975) (“service offered” by the new firm “was superior

to that offered by either of the previously independent

companies alone”); F.T.C. v. Tenet Health Care Corp., 186 F.3d

1045, 1054-55 (8th Cir. 1999)(explaining that in analysis of

“the competitive effects of the merger” the district court

should have considered evidence that the merger of two smaller

hospitals would create “a hospital that is larger and more

efficient” than the standalone hospitals and that “will provide

better medical care than either of those hospitals could

separately.”).   Cost savings and increased output are also

cognizable benefits that demonstrate a merger is procompetitive.

See United States v. Country Lake Foods, Inc., 754 F. Supp. 669,

674 (D. Minn. 1990) (the merger would allow the combined company

to “increase its capacity substantially,” “lower [] costs,” and

achieve “other savings,” enabling it to “compete head-to-head”

with its “top selling” rival).

     The Defendant Airlines have demonstrated that an expansion

of all aspects of JetBlue’s business -- including network,

fleet, and loyalty program -- would allow for more vigorous

competition with the Big Four, which carry most passengers in

the country.   The size of an airline, the number of routes it

serves, the number of options it offers to consumers -- all of

these aspects add to an airline’s relevance to consumers, and


                                 [102]
   Case 1:23-cv-10511-WGY Document 461 Filed 01/16/24 Page 106 of 113



were JetBlue to become more relevant, it would immediately place

more pressure on its greatest competitors, the Big Four.         This

pressure would benefit consumers.     The Defendant Airlines have

also demonstrated that the product JetBlue offers, though more

expensive on average, is higher quality, and provides consumers

with an enhanced flying experience.      Were JetBlue to expand via

the proposed acquisition, not only would that product become

more widely available to more consumers, but the increased

revenue available could also allow JetBlue to innovate further

and create an even stronger customer experience.

        Overall, the Defendant Airlines have successfully met their

relatively low burden to rebut the Government’s prima facie

case.    The combination of the likely, timely entrants into the

harmed markets and the potential procompetitive benefits of the

proposed merger provides the Court with enough substantial

evidence to conclude that the prima facie case may inaccurately

predict the proposed acquisition’s probable effect on future

competition.    See Baker Hughes, 908 F.2d at 991.

          F. Additional Anticompetitive Effect

        The evidence establishing a prima facie case carries

forward even if the presumption is rebutted.       The evidence

constituting the prima facie case establishes a “presumption of

the middle ground,” meaning that it establishes the presumed

fact “unless credible evidence is introduced which tends to


                                 [103]
   Case 1:23-cv-10511-WGY Document 461 Filed 01/16/24 Page 107 of 113



rebut” that fact.   Terry v. Electronic Data Sys. Corp., 940 F.

Supp. 378, 381–82 (D. Mass. 1996); accord United States v.

Jessup, 757 F.2d 378, 382–83 (1st Cir. 1985), abrogated on other

grounds by United States v. O’Brien, 895 F.2d 810 (1st Cir.

1990) (discussing this “middle ground position”).        Thus, “even

when contrary evidence is presented, prima facie evidence

maintains its force and is accorded any weight that the fact-

finder sees fit.”   SEC v. Sargent, 589 F. Supp. 3d 173, 196 &

n.16 (D. Mass. 2022).    The Court, therefore, must now carefully

consider all available evidence to determine whether the

Government has proven by a fair preponderance of the evidence

that the acquisition threatens competition.       See, e.g., Chicago

Bridge, 534 F.3d at 424 (noting how evidence can both establish

a prima facie case and “serve[] as a redoubt” against rebuttal

evidence offered by defendants); Anthem, 236 F. Supp. 3d at 214–

16 (even where defendant successfully rebutted the presumption

with evidence of entry, plaintiff successfully carried ultimate

burden of persuasion through evidence of anticompetitive

effects).

     A merger is unlawful under Section 7 if it is reasonably

probable that it will result in a substantial lessening of

competition in “any line of commerce or in any section of the

country.”   15 U.S.C. § 18.   Thus, “if anticompetitive effects of

a merger are probable in ‘any’ significant market,” the merger


                                 [104]
   Case 1:23-cv-10511-WGY Document 461 Filed 01/16/24 Page 108 of 113



violates Section 7.    Brown Shoe, 370 U.S. at 337; see also

Anthem, Inc., 855 F.3d at 368 (threat of anticompetitive effects

in one local market “provides an independent basis for the

injunction” prohibiting merger); Areeda & Hovenkamp ¶ 972a

(“[Section 7] plainly contemplates that mergers may involve more

than one market, yet it bases legality on a separate market-by-

market appraisal.”).   “The Government may introduce evidence

which shows that as a result of a merger competition may be

substantially lessened throughout the country, or on the other

hand it may prove that competition may be substantially lessened

only in one or more sections of the country.       In either event a

violation of [Section] 7 would be proved.” United States v.

Pabst Brewing Co., 384 U.S. 546, 549 (1966).

     Although the Defendant Airlines provide ample evidence at

the rebuttal stage that the anticompetitive harms of the

proposed acquisition will be offset, both by new entries into

the harmed markets and potential pro-competitive benefits, this

evidence fails to establish that the proposed merger would not

substantially lessen competition in at least some of the

relevant markets.   Throughout trial, the Government invoked the

experience of the average Spirit consumer: a college student in

Boston hoping to visit her parents in San Juan, Puerto Rico; a

large Boston family planning a vacation to Miami that can only

afford the trip at Spirit’s prices.      It is this large category


                                 [105]
   Case 1:23-cv-10511-WGY Document 461 Filed 01/16/24 Page 109 of 113



consumers, those who must rely on Spirit, that this merger would

harm; the Defendant Airlines, though exceedingly well-

represented, simply cannot demonstrate that these consumers

would avoid harm.   Even if other ULCCs entered former Spirit

routes at an unprecedented rate of growth (which, given the

current restraints on airline growth, is unlikely), their entry

is unlikely to be sufficient to protect every consumer, in every

relevant market from harm.

     As Dr. Chipty’s analysis demonstrates, it would take five

years for other ULCCs to replace Spirit’s capacity nationally.

Were other ULCCs to attempt to replace Spirit’s capacity

specifically on Spirit routes (and thereby serve Spirit

customers), it would take over fifteen years to do so.         To

replace just half of Spirit’s capacity on its Boston routes,

Allegiant, which is receiving Spirit divestitures at

Boston(BOS), would have to grow by 412%.      That number rises to

757% for Miami(MIA).   Allegiant’s average annual growth rate

from 2013-2022 was 10%; it is not only unlikely, but practically

impossible that its growth rate would increase to the 249%

annual rate Dr. Chipty estimates would be necessary.        Frontier’s

average growth rate is not much higher; at 12.8%, the odds of

Frontier growing even over 100% are minimal.       Even with other,

new ULCCs growing and expanding and legacy airline expanding




                                 [106]
   Case 1:23-cv-10511-WGY Document 461 Filed 01/16/24 Page 110 of 113



their basic offerings, there is simply no way such astronomical

need could be supplied.

        The Government, therefore, has proven by a fair

preponderance of the evidence that the merger would

substantially lessen competition in a relevant market.

  IV.        THE INJUNCTIVE REMEDY

        In its amended complaint, the Government requested, as a

remedy, that the “Defendants be permanently enjoined and

restrained from carrying out this acquisition, or any other

transaction in any form that would combine JetBlue and Spirit.”

Am. Compl. at 35, ECF No. 69.        Such a broad injunction would

prevent not only the proposed merger of JetBlue and Spirit as it

currently stands, but also any future merger of the two

companies.        At closing arguments, upon question from the Court,

the Government properly recognized that such a request asks too

much.        See Tr. 12/7/2023 51:3-10.54    Today’s decision, therefore,

narrowly applies only to the proposed merger of JetBlue and

Spirit as it currently stands as agreed to by the Defendant

Airlines on July 28, 2022.




       “GOVERNMENT COUNSEL: [T]he injunction would be limited to
        54

the deal that is presently in front of the Court....
THE COURT: So another deal is another case?
GOVERNMENT COUNSEL: Another deal would be another case, right,
your Honor, I think that’s definitely fair to say.”

                                     [107]
   Case 1:23-cv-10511-WGY Document 461 Filed 01/16/24 Page 111 of 113



       The Government argues that “another bite at the apple”

would be of no use to the Defendant Airlines, and that

therefore, the Court ought enjoin any future combination of the

two airlines.      Pl.’s Post-Tr. Br. at 45, ECF No. 451.    To rule

in such a way, however, would be prospectively to interfere with

the free market with unknown, and perhaps harmful, competitive

effects.      Indeed, the Defendant Airlines and others in the

market, in the context of the unique and dynamic market forces

of the airline industry may decide to take another run at a

merger at any time.      The Government will no doubt make its

determination –- as it is duty-bound to do -- as to whether such

a proposed merger sufficiently protects competition.        Of course,

while the Court always encourages parties to resolve their

differences without judicial intervention, the courthouse doors

remain open should the Defendant Airlines decide to try again,

and the Government then wishes to prevent such an attempt.

  V.        CONCLUSION

       In sum, the Court has made its best attempt, applying the

law to the evidence in this case, to predict the future of a

dynamic market recovering from the COVID-19 pandemic, in

markedly uncertain times.55     For the reasons set forth above,



       As the Court expressed to the parties at the conclusion
       55

of trial, this case is an exceptional example of how a complex
antitrust case ought be tried. The Court is grateful and
commends counsel and their staff for their professionalism in

                                  [108]
   Case 1:23-cv-10511-WGY Document 461 Filed 01/16/24 Page 112 of 113



therefore, the Court rules that the proposed acquisition

violates Section 7 of the Clayton Act.

     Spirit is a small airline.

     But there are those who love it.

     To those dedicated customers of Spirit, this one’s for you.

     Why?

     Because the Clayton Act, a 109-year-old statute requires

this result –- a statute that continues to deliver for the

American people.

  VI.   ORDER

     In light of the foregoing Findings of Fact and Conclusions

of Law, it is hereby ORDERED that the Defendant Airlines, their

agents, servants, employees, and all persons acting in concert

with either of them, are PERMANENTLY ENJOINED from executing the

proposed merger as agreed on July 28, 2022.



            SO ORDERED.



                                            /s/ William G. Young_
                                              WILLIAM G. YOUNG
                                                    JUDGE
                                                   of the
                                               UNITED STATES56


robustly and efficiently presenting their respective cases to
the Court.
     56 This is how my predecessor, Peleg Sprague (D. Mass. 1841-

1865), would sign official documents. Now that I’m a Senior

                                 [109]
   Case 1:23-cv-10511-WGY Document 461 Filed 01/16/24 Page 113 of 113




District Judge I adopt this format in honor of all the judicial
colleagues, state and federal, with whom I have had the
privilege to serve over the past 45 years.

                                 [110]
